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cleanup, disapproving of the self-imple-
menting cleanup, or requiring addi-
tional information. If the EPA Re-
gional Administrator does not respond
within 30 calendar days of receiving the
notice, the person submitting the noti-
fication may assume that it is com-
plete and acceptable and proceed with
the cleanup according to the informa-
tion the person provided to the EPA
Regional Administrator. Once cleanup
is underway, the person conducting the
cleanup must provide any proposed
changes from the notification to the
EPA Regional Administrator in writ-
ing no less than 14 calendar days prior
to the proposed implementation of the
change. The EPA Regional Adminis-
trator will determine in his or her dis-
cretion whether to accept the change,
and will respond to the change notifi-
cation verbally within 7 calendar days
and in writing within 14 calendar days
of receiving it. If the EPA Regional Ad-
ministrator does not respond verbally
within 7 calendar days and in writing
within 14 calendar days of receiving the
change notice, the person who sub-
mitted it may deem it complete and
acceptable and proceed with the clean-
up according to the information in the
change notice provided to the EPA Re-
gional Administrator.

(iii) Any person conducting a cleanup
activity may obtain a waiver of the 30-
day notification requirement, if they
receive a separate waiver, in writing,
from each of the agencies they are re-
quired to notify under this section. The
person must retain the original written
waiver as required in paragraph (a)(9)
of this section.

(4) Cleanup levels. For purposes of
cleaning, decontaminating, or remov-
ing PCB remediation waste under this
section, there are four general waste
categories: bulk PCB remediation
waste, non-porous surfaces, porous sur-
faces, and liquids. Cleanup levels are
based on the kind of material and the
potential exposure to PCBs left after
cleanup is completed.

(i) Bulk PCB remediation waste. Bulk
PCB remediation waste includes, but is
not limited to, the following non-liquid
PCB remediation waste: soil, sedi-
ments, dredged materials, muds, PCB
sewage sludge, and industrial sludge.

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(A) High occupancy areas. The cleanup
level for bulk PCB remediation waste
in high occupancy areas is <1 ppm
without further conditions. High occu-
pancy areas where bulk PCB remedi-
ation waste remains at concentrations
>1 ppm and <10 ppm shall be covered
with a cap meeting the requirements of
paragraphs (a)(7) and (a)(8) of this sec-
tion.

(B) Low occupancy areas. (1) The
cleanup level for bulk PCB remediation
waste in low occupancy areas is <25
ppm unless otherwise specified in this
paragraph.

(2) Bulk PCB remediation wastes
may remain at a cleanup site at con-
centrations >25 ppm and <50 ppm if the
site is secured by a fence and marked
with a sign including the M, mark.

(3) Bulk PCB remediation wastes
may remain at a cleanup site at con-
centrations >25 ppm and <100 ppm if
the site is covered with a cap meeting
the requirements of paragraphs (a)(7)
and (a)(8) of this section.

(ii) Non-porous surfaces. In high occu-
pancy areas, the surface PCB cleanup
standard is <10 yg/100 cm? of surface
area. In low occupancy areas, the sur-
face cleanup standard is <100 pg/100 cm?
of surface area. Select sampling loca-
tions in accordance with subpart P of
this part or a sampling plan approved
under paragraph (c) of this section.

(iii) Porous surfaces. In both high and
low occupancy areas, any person dis-
posing of porous surfaces must do so
based on the levels in paragraph
(a)(4)(i) of this section. Porous surfaces
may be cleaned up for use in accord-
ance with §761.79(b)(4) or §761,30(p).

(iv) Liquids. In both high and low oc-
cupancy areas, cleanup levels are the
concentrations specified in §761.79(b)(1)
and (b)(2).

(v) Change in the land use for a clean-
up site. Where there is an actual or pro-
posed change in use of an area cleaned
up to the levels of a low occupancy
area, and the exposure of people or ani-
mal life in or at that area could reason-
ably be expected to increase, resulting
in a change in status from a low occu-
pancy area to a high occupancy area,
the owner of the area shall clean up the

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area in accordance with the high occu-
pancy area cleanup levels in para-
graphs (a)(4)(i) through (a)(4)(iv) of this
section.

(vi) The EPA Regional Adminis-
trator, as part of his or her response to
a notification submitted in accordance
with §761.61(a)(3) of this part, may re-
quire cleanup of the site, or portions of
it, to more stringent cleanup levels
than are otherwise required in this sec-
tion, based on the proximity to areas
such as residential dwellings, hospitals,
schools, nursing homes, playgrounds,
parks, day care centers, endangered
species habitats, estuaries, wetlands,
national parks, national wildlife ref-
uges, commercial fisheries, and sport
fisheries.

(5) Site cleanup. In addition to the op-
tions set out in this paragraph, PCB
disposal technologies approved under
§§761.60 and 761.70 are acceptable for
on-site self-implementing PCB remedi-
ation waste disposal within the con-
fines of the operating conditions of the
respective approvals.

(i) Bulk PCB remediation waste. Any
person cleaning up bulk PCB remedi-
ation waste shall do so to the levels in
paragraph (a)(4)(i) of this section.

(A) Any person cleaning up bulk PCB
remediation waste on-site using a soil
washing process may do so without
EPA approval, subject to all of the fol-
lowing:

(1) A non-chlorinated solvent is used.

(2) The process occurs at ambient
temperature.

(3) The process is not exothermic.

(4) The process uses no external heat.

(5) The process has secondary con-
tainment to prevent any solvent from
being released to the underlying or sur-
rounding soils or surface waters.

(6) Solvent disposal, recovery, and/or
reuse is in accordance with relevant
provisions of approvals issued accord-
ing to paragraphs (b)(1) or (c) of this
section or applicable paragraphs of
§'761.79.

(B) Bulk PCB remediation waste may
be sent off-site for decontamination or
disposal in accordance with this para-
graph, provided the waste is either
dewatered on-site or transported off-
site in containers meeting the require-
ments of the DOT Hazardous Materials

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Regulations (HMR) at 49 CFR parts 171
through 180.

(1) Removed water shall be disposed
of according to paragraph (b)(1) of this
section.

(2) Any person disposing off-site of
dewatered bulk PCB remediation waste
shall do so as follows:

(i) Unless sampled and analyzed for
disposal according to the procedures
set out in §§761.283, 761.286, and 761.292,
the bulk PCB remediation waste shall
be assumed to contain 250 ppm PCBs.

Gi) Bulk PCB remediation wastes
with a PCB concentration of <50 ppm
shall be disposed of in accordance with
paragraph (a)(5)(v)(A) of this section.

(iit) Bulk PCB remediation wastes
with a PCB concentration 250 ppm
shall be disposed of in a hazardous
waste landfill permitted by EPA under
section 3004 of RCRA, or by a State au-
thorized under section 3006 of RCRA, or
a PCB disposal facility approved under
this part.

(iv) The generator must provide writ-
ten notice, including the quantity to be
shipped and highest concentration of
PCBs (using extraction EPA Method
3500B/3540C or Method 3500B/3550B fol-
lowed by chemical analysis using EPA
Method 8082 in SW-846 or methods vali-
dated under subpart Q of this part) at
least 15 days before the first shipment
of bulk PCB remediation waste from
each cleanup site by the generator, to
each off-site facility where the waste is
destined for an area not subject to a
TSCA PCB Disposal Approval.

(3) Any person may decontaminate
bulk PCB remediation waste in accord-
ance with §761.79 and return the waste
to the cleanup site for disposal as long
as the cleanup standards of paragraph
(a)(4) of this section are met.

(ii) Non-porous surfaces. PCB remedi-
ation waste non-porous surfaces shall
be cleaned on-site or off-site for dis-
posal on-site, disposal off-site, or use,
as follows:

(A) For on-site disposal, non-porous
surfaces shall be cleaned on-site or off-
site to the levels in paragraph (a)(4)(ii)
of this section using:

(1) Procedures
§761.79.

(2) Technologies
§'761.60(e).

approved under

approved under

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(3) Procedures or technologies ap-
proved under paragraph (c) of this sec-
tion.

(B) For off-site disposal, non-porous
surfaces:

(1) Having surface concentrations
<100 g/100 cm? shall be disposed of in
accordance with paragraph
(a)(5)i)(B)(2)i) of this section. Metal
surfaces may be thermally decontami-
nated in accordance with
§ 761.79(c)(6)(i).

(2) Having surface concentrations
2100 pg/100 cm? shall be disposed of in
accordance with paragraph
(a)(5)(i)(B)(2)(iii) of this section. Metal
surfaces may be thermally decontami-
nated in accordance with
§'761.79(c)(6)(ii).

(C) For use, non-porous surfaces shall
be decontaminated on-site or off-site to
the standards specified in §761.79(b)(3)
or in accordance with §761.79(c).

(iii) Porous surfaces. Porous surfaces
shall be disposed on-site or off-site as
bulk PCB remediation waste according
to paragraph (a)(5)(i) of this section or
decontaminated for use according to
§761.79(b)(4), as applicable.

(iv) Liquids. Any person disposing of
liquid PCB remediation waste shall ei-
ther:

(A) Decontaminate the waste to the
levels specified in §761.79(b)(1) or (b)(2).

(B) Dispose of the waste in accord-
ance with paragraph (b) of this section
or an approval issued under paragraph
(c) of this section.

(v) Cleanup wastes. Any person gener-
ating the following wastes during and
from the cleanup of PCB remediation
waste shall dispose of or reuse them
using one of the following methods:

(A) Non-liquid cleaning materials
and personal protective equipment
waste at any concentration, including
non-porous surfaces and other non-liq-
uid materials such as rags, gloves, boo-
ties, other disposable personal protec-
tive equipment, and similar materials
resulting from cleanup activities shall
be either decontaminated in accord-
ance with §761.79(b) or (c), or disposed
of in one of the following facilities,
without regard to the requirements of
subparts J and K of this part:

(1) A facility permitted, licensed, or
registered by a State to manage munic-

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ipal solid waste subject to part 258 of
this chapter.

(2) A facility permitted, licensed, or
registered by a State to manage non-
municipal non-hazardous waste subject
to §§ 257.5 through 257.30 of this chapter,
as applicable.

(3) A hazardous waste landfill per-
mitted by EPA under section 3004 of
RCRA, or by a State authorized under
section 3006 of RCRA.

(4) A PCB disposal facility approved
under this part.

(B) Cleaning solvents, abrasives, and
equipment may be reused after decon-
tamination in accordance with §761.79.

(6) Cleanup verification—(i) Sampling
and analysis. Any person collecting and
analyzing samples to verify the clean-
up and on-site disposal of bulk PCB re-
mediation wastes and porous surfaces
must do so in accordance with subpart
O of this part. Any person collecting
and analyzing samples from non-porous
surfaces must do so in accordance with
subpart P of this part. Any person col-
lecting and analyzing samples from liq-
uids must do so in accordance with
§761.269. Any person conducting in-
terim sampling during PCB remedi-
ation waste cleanup to determine when
to sample to verify that cleanup is
complete, may use PCB field screening
tests.

(ii) Verification. (A) Where sample
analysis results in a measurement of
PCBs less than or equal to the levels
specified in paragraph (a)(4) of this sec-
tion, self-implementing cleanup is
complete.

(B) Where sample analysis results in
@ measurement of PCBs greater than
the levels specified in paragraph (a)(4)
of this section, self-implementing
cleanup of the sampled PCB remedi-
ation waste is not complete. The owner
or operator of the site must either dis-
pose of the sampled PCB remediation
waste, or reclean the waste represented
by the sample and reinitiate sampling
and analysis in accordance with para-
graph (a)(6)(i) of this section.

(7) Cap requirements. A cap means,
when referring to on-site cleanup and
disposal of PCB remediation waste, a
uniform placement of concrete, as-
phalt, or similar material of minimum
thickness spread over the area where
remediation waste was removed or left

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in place in order to prevent or mini-
mize human exposure, infiltration of
water, and erosion. Any person design-
ing and constructing a cap must do so
in accordance with §264.310(a) of this
chapter, and ensure that it complies
with the permeability, sieve, liquid
limit, and plasticity index parameters
in §761.75(b)(1)Gi) through (b)(1)(v). A
cap of compacted soil shall have a min-
imum thickness of 25 cm (10 inches). A
concrete or asphalt cap shall have a
minimum thickness of 15 cm (6 inches).
A cap must be of sufficient strength to
maintain its effectiveness and integ-
rity during the use of the cap surface
which is exposed to the environment. A
cap shall not be contaminated at a
level 21 ppm PCB per Aroclor™ (or
equivalent) or per congener. Repairs
shall begin within 72 hours of discovery
for any breaches which would impair
the integrity of the cap.

(8) Deed restrictions for caps, fences
and low occupancy areas. When a clean-
up activity conducted under this sec-
tion includes the use of a fence or a
cap, the owner of the site must main-
tain the fence or cap, in perpetuity. In
addition, whenever a cap, or the proce-
dures and requirements for a low occu-
pancy area, is used, the owner of the
site must meet the following condi-
tions:

(i) Within 60 days of completion of a
cleanup activity under this section, the
owner of the property shall:

(A) Record, in accordance with State
law, a notation on the deed to the prop-
erty, or on some other instrument
which is normally examined during a
title search, that will in perpetuity no-
tify any potential purchaser of the
property:

(1) That the land has been used for
PCB remediation waste disposal and is
restricted to use as a low occupancy
area. as defined in § 761.3.

(2) Of the existence of the fence or
cap and the requirement to maintain
the fence or cap.

(3) The applicable cleanup levels left
at the site, inside the fence, and/or
under the cap.

(B) Submit a certification, signed by
the owner, that he/she has recorded the
notation specified in paragraph
(a)(8)(i)(A) of this section to the EPA
Regional Administrator.

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(ii) The owner of a site being cleaned
up under this section may remove a
fence or cap after conducting addi-
tional cleanup activities and achieving
cleanup levels, specified in paragraph
(a)(4) of this section, which do not re-
quire a cap or fence. The owner may re-
move the notice on the deed no earlier
than 30 days after achieving the clean-
up levels specified in this section which
do not require a fence or cap.

(9) Recordkeeping. For paragraphs
(a)(3), (a)(4), and (a)(5) of this section,
recordkeeping is required in accord-
ance with §761.125(c)(5).

(b) Performance-based disposal. (1) Any
person disposing of liquid PCB remedi-
ation waste shall do so according to
§761.60(a,) or (e), or decontaminate it in
accordance with § 761.79.

(2) Any person disposing of non-liquid
PCB remediation waste shall do so by
one of the following methods:

(i) Dispose of it in a high tempera-
ture incinerator approved under
§761.70(b), an alternate disposal method
approved under §761.60(e), a chemical
waste landfill approved under §761.75,
or in a facility with a coordinated ap-
proval issued under § 761.77.

(ii) Decontaminate it in accordance
with § 761.79.

(3) Any person may manage or dis-
pose of material containing <50 ppm
PCBs that has been dredged or exca-
vated from waters of the United States:

(i) In accordance with a permit that
has been issued under section 404 of the
Clean Water Act, or the equivalent of
such a permit as provided for in regula-
tions of the U.S. Army Corps of Engi-
neers at 33 CFR part 320.

(ii) In accordance with a permit
issued by the U.S. Army Corps of Engi-
neers under section 103 of the Marine
Protection, Research, and Sanctuaries
Act, or the equivalent of such a permit
as provided for in regulations of the
U.S. Army Corps of Engineers at 33
CFR part 320.

(c) Risk-based disposal approval. (1)
Any person wishing to sample, cleanup,
or dispose of PCB remediation waste in
a manner other than prescribed in
paragraphs (a) or (b) of this section, or
store PCB remediation waste in a man-
ner other than prescribed in §761.65,
must apply in writing to the Regional
Administrator in the Region where the

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sampling, cleanup, disposal, or storage
site is located, for sampling, cleanup,
disposal, or storage occurring in a sin-
gle EPA Region; or to the Director, Of-
fice of Resource Conservation and Re-
covery, for sampling, cleanup, disposal,
or storage occurring in more than one
EPA Region. Each application must in-
clude information described in the no-
tification required by paragraph (a)(3)
of this section. EPA may request other
information that it believes necessary
to evaluate the application. No person
may conduct cleanup activities under
this paragraph prior to obtaining writ-
ten approval by EPA.

(2) EPA will issue a written decision
on each application for a risk-based
method for PCB remediation wastes.
EPA will approve such an application if
it finds that the method will not pose
an unreasonable risk of injury to
health or the environment.

(63 FR 35448, June 29, 1998, as amended at 64
FR 33761, June 24, 1999; 72 FR 67239, Oct. 9,
2007; 74 FR 30232, June 25, 2009)

$761.62 Disposal of PCB bulk product
waste.

PCB bulk product waste shall be dis-
posed of in accordance with paragraph
(a), (b), or (c) of this section. Under
some of these provisions, it may not be
necessary to determine the PCB con-
centration or leaching characteristics
of the PCB bulk product waste. When it
is necessary to analyze the waste to
make either of these determinations,
use the applicable procedures in sub-
part R of this part to sample the waste
for analysis, unless EPA approves an-
other sampling plan under paragraph
(c) of this section.

(a) Performance-based disposal. Any
person disposing of PCB bulk product
waste may do so as follows:

(1) In an incinerator approved under
§ 761.70.

(2) In a chemical waste landfill ap-
proved under §761.75.

(3) In a hazardous waste landfill per-
mitted by EPA under section 3004 of
RCRA, or by a State authorized under
section 3006 of RCRA.

(4) Under an alternate disposal ap-
proval under §761.60(e).

(5) In accordance with the decon-
tamination provisions of § 761.79.

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(6) For metal surfaces in contact
with PCBs, in accordance with the
thermal decontamination provisions of
§'761.79(c)(6).

(7) In accordance with a TSCA PCB
Coordinated Approval issued under
§761.77.

(b) Disposal in solid waste landfills. (1)
Any person may dispose of the fol-
lowing PCB bulk product waste in a fa-
cility permitted, licensed, or registered
py a State as a municipal or non-mu-
nicipal non-hazardous waste landfill:

(i) Plastics (such as plastic insulation
from wire or cable; radio, television
and computer casings; vehicle parts; or
furniture laminates); preformed or
molded rubber parts and components;
applied dried paints, varnishes, waxes
or other similar coatings or sealants;
caulking; Galbestos; non-liquid build-
ing demolition debris; or non-liquid
PCB bulk product waste from the
shredding of automobiles or household
appliances from which PCB small ca-
pacitors have been removed (shredder
fluff).

(ii) Other PCB bulk product waste,
sampled in accordance with the proto-
cols set out in subpart R of this part,
that leaches PCBs at <10 pg/L of water
measured using a procedure used to
simulate leachate generation.

(2) Any person may dispose of PCB
bulk product waste other than those
materials meeting the conditions of
paragraph (b)(1) of this section, (e.g.,
paper or felt gaskets contaminated by
liquid PCBs in a facility that is per-
mitted, licensed, or registered by a
State to manage municipal solid waste
subject to part 258 of this chapter or
non-municipal non-hazardous waste
subject to §§257.5 through 257.30 of this
chapter, as applicable, if:

(i) The PCB bulk product waste is
segregated from organic liquids dis-
posed of in the landfill unit.

(ii) Leachate is collected from the
landfill unit and monitored for PCBs.

(3) Any release of PCBs (including
but not limited to leachate) from the
landfill unit shall be cleaned up in ac-
cordance with §761.61.

(4)(4) Any person disposing off-site of
PCB bulk product waste regulated
under paragraph (b)(1) of this section
at a waste management facility not
having a commercial PCB storage or

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disposal approval must provide written
notice to the facility a minimum of 15
days in advance of the first shipment
from the same disposal waste stream.
The notice shall state that the PCB
bulk product waste may include com-
ponents containing PCBs at 250 ppm
based on analysis of the waste in the
shipment or application of a general
knowledge of the waste stream (or
similar material) which is known to
contain PCBs at those levels, and that
the PCB bulk product waste is known
or presumed to leach <10 pg/L PCBs.

(ii) Any person disposing off-site of
PCB bulk product waste regulated
under paragraph (b)(2) of this section
at a waste management facility not
having a commercial PCB storage or
disposal approval must provide written
notice to the facility a minimum of 15
days in advance of the first shipment
from the same disposal waste stream
and with each shipment thereafter. The
notice shall state that the PCB bulk
product waste may include components
containing PCBs at 250 ppm based on
analysis of the waste in the shipment
or application of a general knowledge
of the waste stream (or similar mate-
rial) which is known to contain PCBs
at those levels, and that the PCB bulk
product waste is known or presumed to
leach 210 pg/L PCBs.

(5) Any person disposing of PCB bulk
product waste must maintain a written
record of all sampling and analysis of
PCBs or notifications made under this
paragraph for 3 years from the date of
the waste’s generation. The records
must be made available to EPA upon
request.

(6) Requirements in subparts C, J,
and K of this part do not apply to
waste disposed of under paragraph (b)
of this section.

(c) Risk-based disposal approval. (1)
Any person wishing to sample or dis-
pose of PCB bulk product waste in a
manner other than prescribed in para-
eraphs (a) or (b) of this section, or
store PCB bulk product waste in a
manner other than prescribed in
§761.65, must apply in writing to the
Regional Administrator in the Region
where the sampling, disposal, or stor-
age site is located, for sampling, dis-
posal, or storage occurring in a single
EPA Region; or to the Director, Office

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of Resource Conservation and Recoy-
ery, for sampling, disposal, or storage
occurring in more than one EPA Re-
gion. Each application must contain
information indicating that, based on
technical, environmental, or waste-spe-
cific characteristics or considerations,
the proposed sampling, disposal, or
storage methods or locations will not
pose an unreasonable risk or injury to
health or the environment. EPA may
request other information that it be-
lieves necessary to evaluate the appli-
cation. No person may conduct sam-
pling, disposal, or storage activities
under this paragraph prior to obtaining
written approval by EPA.

(2) EPA will issue a written decision
on each application for a risk-based
sampling, disposal, or storage method
for PCB bulk product wastes. EPA will
approve such an application if it finds
that the method will not pose an un-
reasonable risk of injury to health or
the environment.

(d) Disposal as daily landfill cover or
roadbed. Bulk product waste described
in paragraph (b)(1) of this section may
be disposed of:

(1) As daily landfill cover as long as
the daily cover remains in the landfill
and is not released or dispersed by wind
or other action; or

(2) Under asphalt as part of a road
bed.

[63 FR 35451, June 29, 1998, as amended at 64
FR 38761, June 24, 1999; 72 FR 57239, Oct. 9,
2007; 74 FR 30232, June 25, 2009)

§'761.63 PCB household waste storage
and disposal.

PCB household waste, as defined at
§761.3, managed in a facility permitted,
licensed, or registered by a State to
manage municipal or industrial solid
waste, or in a facility with an approval
to dispose of PCB bulk product waste
under §761.62(c), is not subject to any
other requirements of part 761 of this
chapter. PCB household waste stored in
a unit regulated for storage of PCB
waste must not be commingled with
PCB waste.

(63 FR 35452, June 29, 1998]

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§'761.64 sal of wastes
as a result of research an

§761.30(j) and chemical analysis of
PCBs. S

erated

This section provides disposal re-
quirements for wastes generated during
and as a result of research and develop-
ment authorized under §761.30(j). This
section also provides disposal require-
ments for wastes generated during the
chemical analysis of samples con-
taining PCBs under part 761, including
§§ 761.30, 761.60, 761.61, 761.62, and 761.79.
For determining the presence of PCBs
in samples, chemical analysis includes:
sample preparation, sample extraction,
extract cleanup, extract concentration,
addition of PCB standards, and instru-
mental analysis.

(a) Portions of samples of a size des-
ignated in a chemical extraction and
analysis method for PCBs and ex-
tracted for purposes of determining the
presence of PCBs or concentration of
PCBs are unregulated for PCB disposal
under this part.

(b) All other wastes generated during
these activities are regulated for dis-
posal based on their concentration at
the time of disposal as follows:

(1) Liquid wastes, including rinse sol-
vents, must be disposed of according to
§761.61(a)(5)(iv).

(2) Non-liquid wastes must be dis-
posed of in the same manner as non-liq-
uid cleaning materials and personal
protective equipment waste according
to §761.61(a)(5)(v)(A).

(63 FR 35452, June 29, 1998)

$761.65 Storage for disposal.

This section applies to the storage
for disposal of PCBs at concentrations
of 50 ppm or greater and PCB Items
with PCB concentrations of 50 ppm or
greater.

(a)(1) Storage limitations. Any PCB
waste shall be disposed of as required
by subpart D of this part within l-year
from the date it was determined to be
PCB waste and the decision was made
to dispose of it. This date is the date of
removal from service for disposal and
the point at which the l-year time
frame for disposal begins. PCB/radio-
active waste removed from service for
disposal is exempt from the 1-year time
limit provided that the provisions at

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paragraphs (a)(2)(ii) and (a)(2)Giii) of
this section are followed and the waste
is managed in accordance with all
other applicable Federal, State, and
local laws and regulations for the man-
agement of radioactive material.

(2) One-year extension. Any person
storing PCB waste that is subject to
the l-year time limit for storage and
disposal in paragraph (a)(1) of this sec-
tion may provide written notification
to the EPA Regional Administrator for
the Region in which the PCB waste is
stored that their continuing attempts
to dispose of or secure disposal for
their waste within the l-year time
limit have been unsuccessful. Upon re-
ceipt of the notice by the EPA Re-
gional Administrator, the time for dis-
posal is automatically extended for 1
additional year (2 years total) if the
following conditions are met:

(i) The notification is received by the
EPA Regional Administrator at least
30 days before the initial l-year time
limit expires and the notice identifies
the storer, the types, volumes, and lo-
cations of the waste and the reasons
for failure to meet the initial 1-year
time limit.

(ii) A written record documenting all
continuing attempts to secure disposal
is maintained until the waste is dis-
posed of.

(iii) The written record required by
paragraph (a)(2)(ii) of this section is
available for inspection or submission
if requested by EPA.

(iv) Continuing attempts to secure
disposal were initiated within 270 days
after the time the waste was first sub-
ject to the l-year time limit require-
ment, as specified in paragraph (a)(1) of
this section. Failure to initiate and
continue attempts to secure disposal
throughout the total time the waste is
in storage shall automatically dis-
qualify the notifier from receiving an
automatic extension under this sec-
tion.

(3) Additional extensions. Upon written
request, the EPA Regional Adminis-
trator for the Region in which the
wastes are stored or the appropriate of-
ficial at EPA Headquarters, may grant
additional extensions beyond the 1-
year extension authorized in paragraph
(a)(2) of this section. At the time of the

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request, the requestor must supply spe-
cific justification for the additional ex-
tension and indicate what measures
the requestor is taking to secure dis-
posal of the waste or indicate why dis-
posal could not be conducted during
the period of the prior extension. The
EPA Regional Administrator or the ap-
propriate official at EPA Headquarters
may require, as a condition to granting
any extension under this section, spe-
cific actions including, but not limited
to, marking, inspection, recordkeeping,
or financial assurance to ensure that
the waste does not pose an unreason-
able risk of injury to health or the en-
vironment.

(4) Storage at an approved facility, In-
creased time for storage may be grant-
ed as a condition of any TSCA PCB
storage or disposal approval, by the
EPA Regional Administrator for the
Region in which the PCBs or PCB
Items are to be stored or disposed of, or
by the appropriate official at EPA
Headquarters, if EPA determines that
there is a demonstrated need or jus-
tification for additional time, that the
owner or operator of the facility is pur-
suing relevant treatment or disposal
options, and that no unreasonable risk
of injury to health or the environment
will result from the increased storage
time. In making this determination,
EPA will consider such factors as ab-
sence of any approved treatment tech-
nology and insufficient time to com-
plete the treatment or destruction
process. EPA may require as a condi-
tion of the approval that the owner or
operator submit periodic progress re-
ports.

(b) Except as provided in paragraphs
(b)(2), (c)(1), (c)(7), (€)(9), and (c)(10) of
this section, after July 1, 1978, owners
or operators of any facilities used for
the storage of PCBs and PCB Items
designated for disposal shall comply
with the following storage unit re-
quirements:

(1) The facilities shall meet the fol-
lowing criteria:

(i) Adequate roof and walls to pre-
vent rain water from reaching the
stored PCBs and PCB Items;

(ii) An adequate floor that has con-
tinuous curbing with a minimum 6 inch
high curb. The floor and curbing must
provide a containment volume equal to

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at least two times the internal volume
of the largest PCB Article or PCB Con-
tainer or 25 percent of the total inter-
nal volume of all PCB Articles or PCB
Containers stored there, whichever is
greater. PCB/radioactive wastes are
not required to be stored in an area
with a minimum 6 inch high curbing.
However, the floor and curbing must
still provide a containment volume
equal to at least two times the internal
volume of the largest PCB Container or
25 percent of the total internal volume
of all PCB Containers stored there,
whichever is greater.

(ii) No drain valves, floor drains, ex-
pansion joints, sewer lines, or other
openings that would permit liquids to
flow from the curbed area;

(iv) Floors and curbing constructed
of Portland cement, concrete, or a con-
tinuous, smooth, non-porous surface as
defined at §761.8, which prevents or
minimizes penetration of PCBs.

(v) Not located at a site that is below
the 100-year flood water elevation,

(2) No person may store PCBs and
PCB Items designated for disposal in a
storage unit other than one approved
pursuant to paragraph (d) of this sec-
tion or meeting the design require-
ments of paragraph (b) of this section,
unless the unit meets one of the fol-
lowing conditions:

(i) Is permitted by EPA under section
3004 of RCRA to manage hazardous
waste in containers, and spills of PCBs
are cleaned up in accordance with sub-
part G of this part.

(ii) Qualifies for interim status under
section 8005 of RCRA to manage haz-
ardous waste in containers, meets the
requirements for containment at
§264.175 of this chapter, and spills of
PCBs are cleaned up in accordance
with subpart G of this part.

(iii) Is permitted by a State author-
ized under section 3006 of RCRA to
manage hazardous waste in containers,
and spills of PCBs are cleaned up in ac-
cordance with subpart G of this part.

(iv) Is approved or otherwise regu-
lated pursuant to a State PCB waste
Management program no less stringent
in protection of health or the environ-
ment than the applicable TSCA re-
quirements found in this part.

(v) Is subject to a TSCA Coordinated
Approval, which includes provisions for

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storage of PCBs, issued pursuant to
§ 761.77.

(vi) Has a TSCA PCB waste manage-
ment approval, which includes provi-
sions for storage, issued pursuant to
§761.61(c) or §761.62(c).

(c)(1) The following PCB Items may
be stored temporarily in an area that
does not comply with the requirements
of paragraph (b) of this section for up
to thirty days from the date of their
removal from service, provided that a
notation is attached to the PCB Item
or a PCB Container (containing the
item) indicating the date the item was
removed from service:

(i) Non-leaking PCB Articles and
PCB Equipment;

(ii) Leaking PCB Articles and PCB
Equipment if the PCB Items are placed
in a non-leaking PCB Container that
contains sufficient sorbent materials
to absorb any liquid PCBs remaining in
the PCB Items;

(iii) PCB Containers containing non-
liquid PCBs such as contaminated soil,
rags, and debris; and

(iv) PCB containers containing liquid
PCBs at concentrations of 250 ppm,
provided a Spill Prevention, Control
and Countermeasure Plan has been pre-
pared for the temporary storage area in
accordance with part 112 of this chap-
ter and the liquid PCB waste is in
packaging authorized in the DOT Haz-
ardous Materials Regulations at 49
CFR parts 171 through 180 or stationary
bulk storage tanks (including rolling
stock such as, but not limited to, tank-
er trucks, as specified by DOT).

(2) Non-leaking and _ structurally
undamaged PCB Large High Voltage
Capacitors and PCB-Contaminated
Electrical Equipment that have not
been drained of free flowing dielectric
fluid may be stored on pallets next to
a storage facility that meets the re-
quirements of paragraph (b) of this sec-
tion. PCB-Contaminated Electrical
Equipment that has been drained of
free flowing dielectric fluid is not sub-
ject to the storage provisions of §761.65.
Storage under this subparagraph will
be permitted only when the storage fa-
cility has immediately available un-
filled storage space equal to 10 percent
of the volume of capacitors and equip-
ment stored outside the facility. The
capacitors and equipment temporarily

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stored outside the facility shall be
checked for leaks weekly.

(3) Any storage area subject to the
requirements of paragraph (b) or para-
graph (c)(1) of this section shall be
marked as required in subpart C
§761.40(a)(10).

(4 No item of movable equipment
that is used for handling PCBs and PCB
Items in the storage units and that
comes in direct contact with PCBs
shall be removed from the storage unit
area unless it has been decontaminated
as specified in §761.79.

(5) All PCB Items in storage shall be
checked for leaks at least once every 30
days. Any leaking PCB Items and their
contents shall be transferred imme-
diately to properly marked non-leak-
ing containers. Any spilled or leaked
materials shall be immediately cleaned
up and the materials and residues con-
taining PCBs shall be disposed of in ac-
cordance with §'761.61. Records of in-
spections, maintenance, cleanup and
disposal must be maintained in accord-
ance with §761.180(a) and (b).

(6) Except as provided in paragraphs
(c)(6)(i) and (c)(6)(ii) of this section,
any container used for the storage of
liquid or non-liquid PCB waste shall be
in accordance with the requirements
set forth in the DOT Hazardous Mate-
rials Regulations (HMR) at 49 CFR
parts 171 through 180. PCB waste not
subject to the HMR (i.e., PCB wastes at
concentrations of <20 ppm or <1 pound
of PCBs regardless of concentration)
must be packaged in accordance with
Packaging Group III, unless other haz-
ards associated with the PCB waste
cause it to require packaging in ac-
cordance with Packaging Groups I or
Ul. For purposes of describing PCB
waste not subject to DOT’s HMR on a
manifest, one may use the term ‘Non-
DOT Regulated PCBs.”

(i) Containers other than those meet-
ing HMR performance standards may
be used for storage of PCB/radioactive
waste provided the following require-
ments are met:

(A) Containers used for storage of lig-
uid PCB/radioactive wastes must be
non-leaking.

(B) Containers used for storage of
non-liquid PCB/ radioactive wastes
must be designed to prevent the build-
up of liquids if such containers are

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stored in an area meeting the contain-
ment requirements of paragraph
(b)(1)@i) of this section, as well as all
other applicable State or Federal regu-
lations or requirements for control of
radioactive materials.

(C) Containers used to store both liq-
uid and non-liquid PCB/radioactive
wastes must meet all regulations and
requirements pertaining to nuclear
criticality safety. Acceptable container
materials currently include poly-
ethylene and stainless steel provided
that the container material is chemi-
cally compatible with the wastes being
stored. Other containers may be used
to store both liquid and non-liquid
PCB/radioactive wastes if the users are
able to demonstrate, to the appropriate
Regional Administrator and other ap-
propriate regulatory authorities (i.e.,
Nuclear Regulatory Commission, De-
partment of Energy or the Department
of Transportation), that the use of such
containers is protective of health and
the environment as well as public
health and safety.

(ii) The following DOT specification
containers that conform to the require-
ments of 49 CFR, chapter I, subchapter
C in effect on September 30, 1991, may
be used for storage and transportation
activities that are not subject to DOT
regulation, and may be used on a tran-
sitional basis as permitted at 49 CFR
171.14. For liquid PCBs: Specification 5
container without removable head,
Specification 5B container without re-
movable head, Specification 6D over-
pack with Specification 25 or 2SL poly-
ethylene containers, or Specification
17E container. For non-liquid PCBs:
Specification 5 container, Specification
5B container, or Specification 17C con-
tainer.

(7) Stationary storage containers for
liquid PCBs can be larger than the con-
tainers specified in paragraph (c)(6) of
this section provided that:

(i) The containers are designed, con-
structed, and operated in compliance
with Occupational Safety and Health
Standards, 29 CFR 1910.106, Flammable
and combustible liquids. Before using
these containers for storing PCBs, the
design of the containers must be re-
viewed to determine the effect on the
structural safety of the containers that
will result from placing liquids with

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the specific gravity of PCBs into the
containers = (see 29 CFR
1910.106(b)(1)()(/)).

(ii) The owners or operators of any
facility using containers described in
paragraph (c)(7)(i) of this section, shall
prepare and implement a Spill Preven-
tion Control and Countermeasure
(SPCC) Plan as described in part 112 of
this title. In complying with 40 CFR
part 112, the owner or operator shall
read ‘“‘oil(s)” as ‘‘PCB(s)’? whenever it
appears. The exemptions for storage
capacity, 40 CFR 112.1(d)(2), and the
amendment of SPCC plans by the Re-
gional Administrator, 40 CFR 112.4,
shall not apply unless some fraction of
the liquids stored in the container are
oils as defined by section 311 of the
Clean Water Act.

(8) PCB Items shall be dated on the
item when they are removed from serv-
ice for disposal. The storage shall be
managed so that the PCB Items can be
located by this date. Storage con-
tainers provided in paragraph (c)(7) of
this section, shall have a record that
includes for each batch of PCBs the
quantity of the batch and date the
batch was added to the container. The
record shall also include the date,
quantity, and disposition of any batch
of PCBs removed from the container.

(9) Bulk PCB remediation waste or
PCB bulk product waste may be stored
at the clean-up site or site of genera-
tion for 180 days subject to the fol-
lowing conditions:

(i) The waste is placed in a pile de-
signed and operated to control dis-
persal of the waste by wind, where nec-
essary, by means other than wetting.

(ii) The waste must not generate
leachate through decomposition or
other reactions.

(iii) The storage site must have:

(A) A liner that is designed, con-
structed, and installed to prevent any
migration of wastes off or through the
liner into the adjacent subsurface soil,
ground water or surface water at any
time during the active life (including
the closure period) of the storage site.
The liner may be constructed of mate-
rials that may allow waste to migrate
into the liner. The liner must be:

(1) Constructed of materials that
have appropriate chemical properties
and sufficient strength and thickness

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to prevent failure due to pressure gra-
dients (including static head and exter-
nal hydrogeologic forces), physical con-
tact with the waste or leachate to
which they are exposed, climatic condi-
tions, the stress of installation, and
the stress of daily operation.

(2) Placed upon a foundation or base
capable of providing support to the
liner and resistance to pressure gra-
dients above and below the liner to pre-
vent failure of the liner due to settle-
ment, compression, or uplift.

(3) Installed to cover all surrounding
earth likely to be in contact with the
waste.

(B) A cover that meets the require-
ments of paragraph (c)(9)(iii)(A) of this
section, is installed to cover all of the
stored waste likely to be contacted
with precipitation, and is secured so as
not to be functionally disabled by
winds expected under normal seasonal
meteorological conditions at the stor-
age site.

(C) A run-on contro] system designed,
constructed, operated, and maintained
such that:

(1) It prevents flow onto the stored
waste during peak discharge from at
least a 25-year storm.

(2) It collects and controls at least
the water volume resulting from a 24-
hour, 25-year storm. Collection and
holding facilities (e.g., tanks or basins)
must be emptied or otherwise managed
expeditiously after storms to maintain
design capacity of the system.

(iv) The provisions of this paragraph
may be modified under §761.61(c).

(10) Owners or operators of storage
facilities shall establish and maintain
records as provided in §761.180.

(d) Approval of commercial storers of
PCB waste. (1) All commercial storers
of PCB waste shall have interim ap-
proval to operate commercial facilities
for the storage of PCB waste until Au-
gust 2, 1990. Commercial storers of PCB
waste are prohibited from storing any
PCB waste at their facilities after Au-
gust 2, 1990 unless they have submitted
by August 2, 1990 a complete applica-
tion for a final storage approval under
paragraph (d)(2) of this section. The pe-
riod of interim approval shall continue
until EPA makes a final decision on
the storage application at which time
such interim approval shall terminate.

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(2) The Regional Administrator for
the region in which the storage facility
is located (or the appropriate official
at EPA Headquarters, if the commer-
cial storage area is ancillary to a dis-
posal facility for which an official at
EPA Headquarters has approval au-
thority)shall grant written, final ap-
proval to engage in the commercial
storage of PCB waste upon a deter-
mination that the criteria in paragraph
(d)(2)Gi) through (d)(2)(vii) of this sec-
tion have been met by the applicant:

(i) The applicant, its principals, and
its key employees responsible for the
establishment or operation of the com-
mercial storage facility are qualified to
engage in the business of commercial
storage of PCB waste.

(ii) The facility possesses the capac-
ity to handle the quantity of PCB
waste which the owner or operator of
the facility has estimated will be the
maximum quantity of PCB waste that
will be handled at any one time at the
facility.

(iii) The owner or operator of the
unit has certified compliance with the
storage facility standards in para-
graphs (b) and (c)(7) of this section.

(iv) The owner or operator has devel-
oped a written closure plan for the fa-
cility that is deemed acceptable by the
Regional Administrator (or the appro-
priate official at EPA Headquarters, if
the commercial storage area is ancil-
lary to a disposal facility permitted by
an official at EPA Headquarters) under
the closure plan standards of paragraph
(e) of this section.

(v) The owner or operator has in-
cluded in the application for final ap-
proval a demonstration of financial re-
sponsibility for closure that meets the
financial responsibility standards of
paragraph (g) of this section.

(vi) The operation of the storage fa-
cility will not pose an unreasonable
risk of injury to health or the environ-
ment.

(vii) The environmental compliance
history of the applicant, its principals,
and its key employees may be deemed
to constitute a sufficient basis for de-
nial of approval whenever in the judg-
ment of the appropriate EPA official

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that history of environmental civil vio-
lations or criminal convictions evi-
dences a pattern or practice of non-
compliance that demonstrates the ap-
plicant’s unwillingness or inability to
achieve and maintain compliance with
the regulations.

(3) Applicants for storage approvals
shall submit a written application that
includes any relevant information
bearing upon the qualifications of the
facility’s principals and key employees
to engage in the business of commer-
cial storage of PCB wastes. This infor-
mation shall include, but is not limited
to:
(i) The identification of the owner
and the operator of the facility, includ-
ing all general partners of a partner-
ship, any limited partner of a partner-
ship, any stockholder of a corporation
or any participant in any other type of
business organization or entity who
owns or controls, directly or indirectly,
more than 5 percent of each partner-
ship, corporation, or other business or-
ganization and all officials of the facil-
ity who have direct management re-
sponsibility for the facility.

(ii) The identification of the person
responsible for the overall operations
of the facility (i-e., a plant manager,
superintendent, or a person of similar
responsibility) and the supervisory em-
ployees who are or will be responsible
for the operation of the facility.

(iii) Information concerning the tech-
nical qualifications and experience of
the persons responsible for the overall
operation of the facility and the em-
ployees responsible for handling PCB
waste or other wastes,

(iv) Information concerning any past
State or Federal environmental viola-
tions involving the same business or
another business with which the prin-
cipals or supervisory employees were
affiliated directly that occurred within
5 years preceding the date of submis-
sion and which relate directly to viola-
tions that resulted in either a civil
penalty (irrespective of whether the
matter was disposed of by an adjudica-
tion or by a without prejudice settle-
ment) or judgment of conviction
whether entered after trial or a plea,
either of guilt or nolo contendere or
civil injunctive relief and involved

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storage, disposal, transport, or other
waste handling activities.

(v) A list of all companies currently
owned or operated in the past by the
principals or key employees identified
in paragraphs (d)(3)(i) and (d)(8)Gi) of
this section that are or were directly
or indirectly involved with waste han-
dling activities.

(vi) The owner's or operator's esti-
mate of maximum PCB waste quantity
to be handled at the facility.

(vii) A written statement certifying
compliance with paragraph (b) or (c) of
this section and containing a certifi-
cation as defined in § 761.3.

(viii) A written closure plan for the
facility, as described in paragraph (e)
of this section.

(ix) The current closure cost esti-
mate for the facility, as described in
paragraph (f) of this section.

(x) A demonstration of financial re-
sponsibility to close the facility, as de-
scribed in paragraph (g) of this section.

(4) The written approval issued by
EPA shall include, but not be limited
to, the following:

(i) The determination that the appli-
cant has satisfied the requirements set
forth in paragraph (d)(2) of this section,
and a brief statement setting forth the
basis for the determination,

(ii) Incorporation of the closure plan
submitted by the facility owner or op-
erator and approved by EPA.

Gii) A condition imposing a max-
imum PCB storage capacity which the
facility shall not exceed during its PCB
waste storage operations. The max-
imum storage capacity imposed under
this condition shall not be greater than
the estimated maximum inventory of
PCB waste included in the owner's or
operator's application for final ap-
proval.

(iv) Such other conditions as deemed
necessary by EPA to ensure that the
operations of the PCB storage facility
will not pose an unreasonable risk of
injury to health or the environment.

(5) Storage areas at transfer facilities
are exempt from the requirement to
obtain approval as a commercial storer
of PCB waste under this paragraph, un-
less the same PCB waste is stored at
these facilities for a period of time
greater than 10 consecutive days be-
tween destinations.

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(6) Storage areas at RCRA-permitted
facilities may be exempt from the sepa-
rate TSCA storage approval require-
ments in this paragraph (d) upon a
showing to the Regional Administra-
tor's satisfaction that the facility’s ex-
isting RCRA closure plan is substan-
tially equivalent to this rule’s closure
plan standards, and that such facility's
closure cost estimate and financial as-
surance demonstration account for
maximum PCB waste inventories, and
the requirements of paragraph (d)(3)(i)
through (d)(3)(v) and (d)(3)(vii) of this
section are met. A pay-in period of
longer than 3 years after approval of
the storage facility pursuant to this
rule, will be acceptable to EPA if that
pay-in period has already been estab-
lished for a valid RCRA facility or pre-
viously approved TSCA facility.

(7) Storage areas ancillary to TSCA-
approved disposal facilities may be ex-
empt from a separate facility approval
provided all of the following conditions
are met:

(i) The current disposal approval con-
tains an expiration date.

(iil) The current disposal approval's
closure and financial responsibility
conditions specifically extend to stor-
age areas ancillary to disposal.

(iii) The current disposal approval’s
closure and financial responsibility
conditions provide for annual adjust-
ments for inflation, and for modifica-
tion when changes in operation would
affect closure costs.

(iv) The current disposal approval
contains conditions on closure and fi-
nancial responsibility that are at least
as stringent as those in paragraphs (e)
and (g) of this section. However, the
provision for a 3-year closure trust
pay-in period, as specified in paragraph
(¢))G) of this section, would be
waived in a case in which an approved
TSCA facility or RCRA facility that
covers PCB storage has a longer pay-in
period for the trust.

(v) The current disposal approval sat-
isfies the requirements of paragraph
(d)(3)G) through (d)(3)(v) of this sec-
tion.

(8) The approval of any existing
TSCA-approved disposal facility ancil-
lary to a commercial storage facility
that is deficient in any of the condi-
tions of paragraph (d)(7)(i) through

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(d)(7)(v) of this section shall be called
in by the Regional Administrator (or
the appropriated official at EPA Head-
quarters, if approval was granted by an
official at EPA Headquarters). The ap-
proval shall be modified to meet the re-
quirements of paragraph (d)(7) of this
section within 180 days of the effective
date of this final rule, or a separate ap-
plication for approval of the storage fa-
cility may be submitted to the Re-
gional Administrator or the Director,
Office of Resource Conservation and
Recovery, in the cases where an official
at EPA Headquarters issued the ap-
proval.

(e) Closure. (1) A commercial storer of
PCB waste shall have a written closure
plan that identifies the steps that the
owner or operator of the facility shall
take to close the PCB waste storage fa-
cility in a manner that eliminates the
potential for post-closure releases of
PCBs which may present an unreason-
able risk to human health or the envi-
ronment. An acceptable closure plan
must include, at a minimum, all of the
following:

(i) A description of how the PCB stor-
age areas of the facility will be closed
in a manner that eliminates the poten-
tial for post-closure releases of PCBs
into the environment.

(ii) An identification of the max-
imum extent of storage operations that
will be open during the active life of
the facility, including an identification
of the extent of PCB storage operations
at the facility relative to other wastes
that will be handled at the facility.

(iii) An estimate of the maximum in-
ventory of PCB wastes that could be
handled at one time at the facility over
its active life, and a detailed descrip-
tion of the methods or arrangements to
be used during closure for removing,
transporting, storing, or disposing of
the facility’s inventory of PCB waste,
including an identification of any off-
site facilities that will be used.

(iv) A detailed description of the
steps needed to remove or decontami-
nate PCB waste residues and contami-
nated containment system compo-
nents, equipment, structures, and soils
during closure in accordance with the
levels specified in the PCB Spills
Cleanup Policy in subpart G of this
part, including a description of the

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methods for sampling and testing of
surrounding soils, and the criteria for
determining the extent of removal or
decontamination.

(v) A detailed description of other ac-
tivities necessary during the closure
period to ensure that any post-closure
releases of PCBs will not present un-
reasonable risks to human health or
the environment. This includes activi-
ties such as ground-water monitoring,
run-on and run-off control, and facility
security.

(vi) A schedule for closure of each
area of the facility where PCB waste is
stored or handled, including the total
time required to close each area of PCB
waste storage or handling, and the
time required for any intervening clo-
sure activities.

(vii) An estimate of the expected
year of closure of the PCB waste stor-
age areas, if a trust fund is opted for as
the financial mechanism.

(2) A written closure plan determined
to be acceptable by EPA under this sec-
tion shall become a condition of any
approval granted under paragraph (d)
of this section.

(3) A separate and new closure plan
need not be submitted in cases where a
facility is currently covered by a TSCA
approval or a RCRA permit, upon a
showing to the satisfaction of the Re-
gional Administrator (or the appro-
priate official at EPA Headquarters, if
the commercial storage area is ancil-
lary to a disposal facility for which an
official at EPA Headquarters has ap-
proval authority) that the existing clo-
sure plan is substantially equivalent to
closure plans required under para-
graphs (d) through (g) of this section,
and that the plan adequately accounts
for PCB waste inventories.

(4) The commercial storer of PCB
waste shall submit a written request to
the Regional Administrator (or the Di-
rector, Office of Resource Conservation
and Recovery, if an official at EPA
Headquarters approved the closure
plan) for a modification to its storage
approval to amend its closure plan,
whenever:

(i) Changes in ownership, operating
plans, or facility design affect the ex-
isting closure plan.

(ii) There is a change in the expected
date of closure, if applicable.

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(iii) In conducting closure activities,
unexpected events require a modifica-
tion of the approved closure plan,

(5) The Regional Administrator or
the Director, appropriate official at
EPA Headquarters, if an official at
EPA Headquarters approved the clo-
sure plan, may modify the existing clo-
sure plan under the conditions de-
scribed in paragraph (e)(4) of this sec-
tion.

(6) Commercial storers of PCB waste
shall comply with the following closure
schedule:

(i) The commercial storer shall no-
tify in writing the Regional Adminis-
trator or the Director, Office of Re-
source Conservation and Recovery, if
an official at EPA Headquarters ap-
proved the closure plan, at least 60
days prior to the date on which final
closure of its PCB storage facility is
expected to begin.

(ii) The date when a commercial stor-
er of PCB waste ‘expects to begin clo-
sure’ shall be no later than 30 days
after the date on which the storage fa-
cility received its final quantities of
PCB waste. For good cause shown, EPA
may extend the date for commence-
ment of closure for an additional 30-
day period.

(iii) Within 90 days after receiving
the final quantity of PCB waste for
storage, a commercial storer of PCB
waste shall remove all PCB waste in
storage at the facility from the facility
in accordance with the approved clo-
sure plan. For good cause shown, EPA
may approve a reasonable extension to
the period for removal of the PCB
waste.

(iv) A commercial storer of PCB
waste shall complete closure activities
in accordance with the approved clo-
sure plan and within 180 days after re-
ceiving the final quantity of PCB waste
for storage at the facility. For good
cause shown, EPA may approve a rea-
sonable extension to the closure period.

(7) During the closure period, all con-
taminated system component equip-
ment, structures, and soils shall be dis-
posed of in accordance with the dis-
posal requirements of subpart D of this
part, or, if applicable, decontaminated
in accordance with the levels specified
in the PCB Spills Cleanup Policy at
subpart G of this part. When PCB waste

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is removed from the storage facility
during closure, the owner or operator
becomes a generator of PCB waste sub-
ject to the generator requirements of
subpart J of this part.

(8) Within 60 days of completion of
closure of each facility for the storage
of PCB waste, the commercial storer of
PCB waste shall submit to the Re-
gional Administrator (or the Director,
Office of Resource Conservation and
Recovery, if an official at EPA Head-
quarters approved the closure plan), by
registered mail, a certification that
the PCB storage facility has been
closed in accordance with the approved
closure plan, The certification shall be
signed by the owner or operator and by
an independent registered professional
engineer.

(f) Closure cost estimate. (1) A commer-
cial storer of PCB wastes shall have a
detailed estimate, in current dollars, of
the cost of closing the facility in ac-
cordance with its approved closure
plan. The closure cost estimate shall be
in writing, be certified by the person
preparing it (using the certification de-
fined in §761.3) and comply with all of
the following criteria:

(i) The closure cost estimate shall
equal the cost of final closure at the
point in the PCB storage facility's ac-
tive life when the extent and manner of
PCB storage operations would make
closure the most expensive, as indi-
cated by the facility’s closure plan.

(ii) The closure cost estimate shall be
based on the costs to the owner or op-
erator of hiring a third party to close
the facility, and the third party shall
not be either a corporate parent or sub-
sidiary of the owner or operator, or
member in joint ownership of the facil-
ity.

(iii) The owner or operator shall in-
clude in the estimate the current mar-
ket costs for off-site commercial dis-
posal of the facility’s maximum esti-
mated inventory of PCB wastes, except
that on-site disposal costs may be used
if on-site disposal capacity will exist at
the facility at all times over the life of
the PCB storage facility.

(iv) The closure cost estimate may
not incorporate any salvage value that
may be realized with the sale of wastes,
facility structures or equipment, land,

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or other assets associated with the fa-
cility at the time of closure.

(2) During the active life of the PCB
storage facility, the commercial storer
of PCB waste shall adjust annually for
inflation the closure cost estimate
within 60 days prior to the anniversary
date of the establishment of the finan-
cial instruments used to demonstrate
financial responsibility for closure, ex-
cept that owners or operators who use
the financial test or corporate guar-
antee shall adjust their closure cost es-
timates for inflation within 30 days
after the close of the storer’s fiscal
year. The adjustment may be made by
recalculating the maximum costs of
closure in current dollars, or by using
an inflation factor derived from the
most recent Implicit Price Deflator for
Gross National Product published by
the U.S. Department of Commerce in
its Survey of Current Business. The Im-
plicit Price Deflator for Gross National
Product is included in a monthly publi-
cation titled Economic Indicators, which
is available from the Superintendent of
Documents, Government Printing Of-
fice, Washington, DC 20402. The infla-
tion factor used in the latter method is
the result of dividing the latest pub-
lished annual Deflator by the Deflator
for the previous year. The adjustment
to the closure cost estimate is then
made by multiplying the most recent
closure cost estimate by the latest in-
flation factor.

(3) Where EPA approves a modifica-
tion to the facility's closure plan, and
that modification increases the cost of
closure, the owner or operator shall re-
vise the closure cost estimate no later
than 30 days after the modification is
approved. Any such revision shall also
be adjusted for inflation in accordance
with paragraph (f)(2) of this section.

(4) The owner or operator of the facil-
ity shall keep at the facility during its
operating life the most recent closure
cost estimate, including any adjust-
ments resulting from inflation or from
modifications to the closure plan.

(g) Financial assurance for closure. A
commercial storer of PCB waste shall
establish financial assurance for clo-
sure of each PCB storage facility that
he owns or operates. In establishing fi-
nancial assurance for closure, the com-
mercial storer of PCB waste may

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choose from the following financial as-
surance mechanisms or any combina-
tion of mechanisms:

(1) The “closure trust fund,’ as speci-
fied in §264.143(a) of this chapter, ex-
cept for paragraph (a)(3) of § 264.143. For
purposes of this paragraph, the fol-
lowing provisions also apply:

(i) Payments into the trust fund shall
be made annually by the owner or oper-
ator over the remaining operating life
of the facility as estimated in the clo-
sure plan, or over 3 years, whichever
period is shorter. This period of time is
hereafter referred to as the ‘‘pay-in pe-
riod,” For an existing facility, the first
payment must be made within 30 cal-
endar days after EPA has notified the
facility of its conditional approval. In-
terim approval to operate is canceled
and the application is denied if EPA
does not receive verification that the
payment was made in that 30-day pe-
riod.

(ii) For a new facility, the first pay-
ment into the closure trust fund shall
be made before EPA grants final ap-
proval of the application and before the
facility may accept the initial ship-
ment of PCB waste for commercial
storage. A receipt from the trustee
shall be submitted by the owner or op-
erator to the Regional Administrator
(or the Director, Office of Resource
Conservation and Recovery, if the com-
mercial storage area is ancillary to a
disposal facility approved by an official
at EPA Headquarters) before this ini-
tial delivery of PCB waste. The first
payment shall be at least equal to the
current closure cost estimate, divided
by the number of years in the pay-in
period, except as provided in paragraph
(g)(7) of this section for multiple mech-
anisms. Subsequent payments shall be
made no later than 30 days after each
anniversary date of the first payment.
The amount of each subsequent pay-
ment shall be determined by sub-
tracting the current value of the trust
fund from the current closure cost esti-
mate, and dividing this difference by
the number of years remaining in the
pay-in period.

(iii) If an owner or operator of a facil-
ity existing on the effective date of
this paragraph establishes a trust fund
to meet the financial assurance re-
quirements of this paragraph, and the

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value of the trust fund is less than the
current closure cost estimate when a
final approval is granted for the facil-
ity, the amount of the current closure
cost estimate still to be paid into the
trust fund shall be paid in over the
pay-in period as defined in paragraph
(g)(1)G) of this section. Payments shall
continue to be made no later than 30
days after each anniversary date of the
first payment made into the trust fund.
The amount of each payment shall be
determined by subtracting the current
value of the trust fund from the cur-
rent closure cost estimate, and divid-
ing this difference by the number of
years remaining in the pay-in period.

(iv) The submission of a trust agree-
ment with the wording specified in
§264.151(a)(1) of this chapter, including
any reference to hazardous waste man-
agement facilities, shall be deemed to
be in compliance with the requirement
to submit a trust agreement under this
subpart.

(2) The “surety bond guaranteeing
payment into a closure trust fund,’’ as
specified in §264.143(b) of this chapter,
including the use of the surety bond in-
strument specified at §264.151(b) of this
chapter and the standby trust specified
at §264.143(b)(3) of this chapter. The use
of the surety bonds, surety bond instru-
ments, and standby trust agreements
specified in §§ 264.143(b) and 264.151(b) of
this chapter shall be deemed to be in
compliance with this subpart.

(83)(i) The “surety bond guaranteeing
performance of closure," as specified at
§264.148(c) of this chapter, except for
paragraph (c)(5) of § 264.143 of this chap-
ter. The submission and use of the sur-
ety bond instrument specified at
§264.151(c) of this chapter and the
standby trust specified at §264.143(c)(3)
of this chapter shall be deemed to be in
compliance with the requirements
under this subpart relating to the use
of surety bonds and standby trust
funds.

(ii) For the purposes of this para-
graph, and under the terms of the bond,
the surety shall become liable on the
bond obligation when the owner or op-
erator fails to perform as guaranteed
by the bond. Liability is established by
a final administrative determination
pursuant to section 16 of TSCA that

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the owner or operator has failed to per-
form final closure in accordance with
the closure plan and other approval or
regulatory requirements when required
to do so,

(4G) The “closure letter of credit’*
specified in §264.143(d) of this chapter,
except for paragraph (d)(8). The sub-
mission and use of the irrevocable let-
ter of credit instrument specified in
§264.151(d) of this chapter and the
standby trust specified in §264.143(d)(3)
of this chapter shall be deemed to be in
compliance with the requirements of
this subpart relating to the use of let-
ters of credit and standby trust funds.

(ii) For the purposes of this para-
graph, the Regional Administrator (or
the appropriate official at EPA Head-
quarters, if the commercial storage
area is ancillary to a disposal facility
for which an official at EPA Head-
quarters has approval authority) may
draw on the letter of credit following a
final administrative determination
pursuant to section 16 of TSCA that
the owner or operator has failed to per-
form final closure in accordance with
the closure plan and other approval or
regulatory requirements when required
to do sa.

(5) “Closure insurance,’’ as specified
in §264.143(e) of this chapter, utilizing
the certificate of insurance for closure
specified at §264.151(e) of this chapter.
The use of closure insurance as speci-
fied in §264.143(e) of this chapter and
the submission and use of the certifi-
cate of insurance specified in
§264.151(e) of this chapter shall be
deemed to be in compliance with the
requirements of this subpart relating
to the use of closure insurance.

(6) The ‘‘financial test and corporate
guarantee for closure,’’ as described in
§264.143(f) of this chapter, including a
letter signed by the owner's or opera-
tor’s chief financial officer as specified
at §264.151(f) of this chapter and, if ap-
plicable, the written corporate guar-
antee specified at §264.151(h) of this
chapter. The use of the financial test
and corporate guarantee specified in
§264.143(f) of this chapter, the submis-
sion and use of the letter specified in
§264.151(f) of this chapter, and the sub-
Mission and use of the written cor-
porate guarantee specified at
§264.151(h) of this chapter shall be

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deemed to be in compliance with the
requirements of this subpart relating
to the use of financial tests and cor-
porate guarantees.

(7) The corporate guarantee as speci-
fied in §264.143(f)(10) of this chapter.

(8) The use of multiple financial
mechanisms, as specified in §264.143(¢)
of this chapter is permitted.

(9) A modification to a facility stor-
ing PCB waste that increases the max-
imum storage capacity indicated in the
permit requires that a new financial
assurance mechanism be established or
an existing one be amended. When such
a modification occurs, the Director of
the Federal or State issuing authority
must be notified in writing no later
than 30 days from the completion of
the modification, The new or revised fi-
nancial assurance mechanism must be
established and activated no later than
30 days after the Director of the Fed-
eral or State issuing authority is noti-
fied of the completion of the modifica-
tion, but prior to the use of the modi-
fied portion of the facility.

(h) Release of owner or operator. With-
in 60 days after receiving certifications
from the owner or operator and an
independent registered professional en-
gineer that final closure has been com-
pleted in accordance with the approved
closure plan, EPA will notify the owner
or operator in writing that the owner
or operator is no longer required by
this section to maintain financial as-
surance for final closure of the facility,
unless EPA has reason to believe that
final closure has not been completed in
accordance with the approved closure
plan. EPA shall provide the owner or
operator with a detailed written state-
ment stating the reasons why EPA
shall provide the owner or operator
with a detailed written statement stat-
ing the reasons why he believed closure
was not conducted in accordance with
the approved closure plan.

(i) Laboratories and samples, (1) A lab-
oratory is conditionally exempt from
the notification and approval require-
ments for a commercial storer under
§761.65 (d) through (h) when it stores
samples held for disposal in a facility
that complies with the standards in
§ 761.65 (b)(1)(i) through (b)(1)(iv).

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(2) A laboratory sample is exempt
from the manifesting requirements in
§§ 761.210 through 761.213 when:

(i) The sample is being transported to
a laboratory for the purpose of testing.

(ii) The sample is being transported
back to the sample collector after test-
ing.

Giii) The sample is being stored by
the sample collector before transport
to a laboratory for testing.

(iv) The sample is being stored in a
laboratory before testing.

(v) The sample is being stored in a
laboratory after testing but before it is
returned to the sample collector.

(vi) The sample is being stored tem-
porarily in the laboratory after testing
for a specific purpose (for example,
until conclusion of a court case or en-
forcement action where further testing
of the sample may be necessary).

(3) In order to qualify for the exemp-
tion in paragraph (i)(2)(i) and (i)(2)(ii)
of this section, a sample collector ship-
ping samples to a laboratory and a lab-
oratory returning samples to a sample
collector must;

(i) Comply with applicable U.S. De-
partment of Transportation (DOT) or
U.S. Postal Service (USPS) shipping re-
quirements, found respectively in 49
CFR 173.345 and U.S. Postal Regula-
tions 652.2 and 652.3.

(ii) Assure that the following infor-
mation accompanies the sample:

(A) The sample collector’s name,
mailing address, and telephone num-
ber.

(B) The laboratory’s name, mailing
address, and telephone number.

(C) The quantity of the sample.

(D) The date of shipment.

(E) A description of the sample.

(iii) Package the sample so that it
does not leak, spill, or vaporize from
its packaging.

(4) When the concentration of the
PCB sample has been determined, and
its use is terminated, the sample must
be properly disposed. A laboratory
must either manifest the PCB waste to
a disposer or commercial storer, as re-
quired under §§761.210 through 761.218,
retain a copy of each manifest, as re-
quired under §§761.213 and 761.214, and
follow up on exception reporting, as re-
quired under §761.217, or return the
sample to the sample collector who

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must then properly dispose of the sam-
ple. If the laboratory returns the sam-
ple to the sample collector, the labora-
tory must comply with the shipping re-
quirements set forth in paragraphs
(i)(3)(i) through (i)(8)(iii) of this sec-
tion.

(j) Changes in ownership or operational
control of a commercial storage facility.
The date of transfer of interim status
or final approval shall be the date the
EPA Regional Administrator (or appro-
priate official at EPA Headquarters)
provides written approval of the trans-
fer. EPA will provide a final written
decision within 90 days of receipt of the
complete new or amended application.
The Agency will approve the transfer if
the following conditions are met:

(1) The transferee has established fi-
nancial assurance for closure pursuant
to paragraph (g) of this section using a
mechanism effective as of the date of
final approval so that there will be no
lapse in financial assurance for the
transferred facility.

(2) The transferor or transferee has
resolved any deficiencies (e.g., tech-
nical operations, closure plans, cost es-
timates, etc.) the Agency has identified
in the transferor’s application.

(k) States and the Federal Government.
States and the Federal Government are
exempt from the requirements of para-
graphs (f) and (g) of this section.

(Sec. 6, Pub. L. 94-469, 90 Stat. 2020 (15 U.S.C.
2605)

[44 FR 31542, May 31, 1979. Redesignated at 47
FR 19527, May 6, 1982, and amended at 47 FR
37359, Aug. 8, 1982; 49 FR 28191, July 10, 1984;
53 FR 12524, Apr. 15, 1988; 64 FR 52746, Dec. 21,
1989; 55 FR 695, Jan, 8, 1990; 55 FR 26205, June
27, 1990; 58 FR 15809, Mar, 24, 1993; 58 FR 34205,
June 23, 1993; 58 FR 59374, Nov, 9, 1993; 68 FR
35439, 35452, June 29, 1998; 72 FR 67239, 57240
Oct. 9, 2007; 74 FR 30232, June 25, 2009; 77 FR
54830, Sept. 6, 2012)

§761.70 Incineration.

This section applies to facilities used
to incinerate PCBs required to be in-
cinerated by this part.

(a) Liquid PCBs. An incinerator used
for incinerating PCBs shall be approved
by EPA pursuant to paragraph (d) of
this section. Requests for approval of
incinerators to be used in more than
one region must be submitted to the

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Director, Office of Resource Conserva-
tion and Recovery, except for research
and development involving less than
500 pounds of PCB material (see
§761.60(i1}(2)). Requests for approval of
incinerators to be used in only one re-
gion must be submitted to the appro-
priate Regional Administrator. The in-
cinerator shall meet all of the require-
ments specified in paragraphs (a)(1)
through (9) of this section, unless a
waiver from these requirements is ob-
tained pursuant to paragraph (d)(5) of
this section, In addition, the inciner-
ator shall meet any other requirements
which may be prescribed pursuant to
paragraph (d)(4) of this section.

(1) Combustion criteria shall be ei-
ther of the following:

(i) Maintenance of the introduced liq-
uids for a 2-second dwell time at 1200 °C
(4100 °C) and 3 percent excess oxygen in
the stack gas; or

(ii) Maintenance of the introduced
liquids for a 1% second dwell time at
1600 °C(+100 °C) and 2 percent excess ox-
ygen in the stack gas.

(2) Combustion efficiency shall be at
least 99.9 percent computed as follows:

Combustion efficiency = [Cco2/(Cco2 +
Cco)]100

where

Cco2 = Concentration of carbon dioxide.
Cco = Concentration of carbon monoxide.

(3) The rate and quantity of PCBs
which are fed to the combustion sys-
tem shall be measured and recorded at
regular intervals of no longer than 15
minutes.

(4) The temperatures of the inciner-
ation process shall be continuously
measured and recorded. The combus-
tion temperature of the incineration
process shall be based on either direct
(pyrometer) or indirect (wall thermo-
couple-pyrometer correlation) tem-
perature readings.

(5) The flow of PCBs to the inciner-
ator shall stop automatically whenever
the combustion temperature drops
below the temperatures specified in
paragraph (a)(1) of this section.

(6) Monitoring of stack emission
products shall be conducted:

(i) When an incinerator is first used
for the disposal of PCBs under the pro-
visions of this regulation;

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(ii) When an incinerator is first used
for the disposal of PCBs after the incin-
erator has been modified in a manner
which may affect the characteristics of
the stack emission products; and

(iii) At a minimum such monitoring
shall be conducted for the following pa-
rameters:

(@) O2; (6) CO; (c) CO2; (d) Oxides of
Nitrogen (NOx); (e) Hydrochloric Acid
(HCl); () Total Chlorinated Organic
Content (RCl); (¢) PCBs; and (hk) Total
Particulate Matter.

(7) At a minimum monitoring and re-
cording of combustion products and in-
cineration operations shall be con-
ducted for the following parameters
whenever the incinerator is incin-
erating PCBs:

(i) O2; (ii) CO; and (iii) CO2. The moni-
toring for 02; and CO shall be contin-
uous. The monitoring for CO, shall be
periodic, at a frequency specified by
the Regional Administrator or appro-
priate official at EPA Headquarters.

(8) The flow of PCBs to the inciner-
ator shall stop automatically when any
one or more of the following conditions
occur, unless a contingency plan is sub-
mitted by the incinerator owner or op-
erator and approved by the Regional
Administrator or appropriate official
at EPA Headquarters. The contingency
plan indicates what alternative meas-
ures the incinerator owner or operator
would take if any of the following con-
ditions occur:

(i) Failure of monitoring operations
specified in paragraph (a)(7) of this sec-
tion;

(ii) Failure of the PCB rate and quan-
tity measuring and recording equip-
ment specified in paragraph (a)(3) of
this section; or

(iii) Excess oxygen falls below the
percentage specified in paragraph (a)(1)
of this section.

(9) Water scrubbers shall be used for
HCl control during PCB incineration
and shall meet any performance re-
quirements specified by EPA. Scrubber
effluent shall be monitored and shall
comply with applicable effluent or
pretreatment standards, and any other
State and Federal laws and regula-
tions. An alternate method of HCl con-
trol may be used if the alternate meth-
od has been approved by EPA. (The HCl
neutralizing capability of cement kilns

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is considered to be an alternate meth-
od.)

(b) Nonliguid PCBs. An incinerator
used for incinerating nonliquid PCBs,
PCB Articles, PCB Equipment, or PCB
Containers shall be approved by EPA
pursuant to paragraph (d) of this sec-
tion. Requests for approval of inciner-
ators to be used in more than one re-
gion must be submitted to the Direc-
tor, Office of Resource Conservation
and Recovery except for research and
development involving less that 500
pounds of PCB material (see
§761.60(i)(2)). Requests for approval of
incinerators to be used in only one re-
gion must be submitted to the appro-
priate Regional Administrator. The in-
cinerator shall meet all of the require-
ments specified in paragraphs (b)(1)
and (2) of this section unless a waiver
from these requirements is obtained
pursuant to paragraph (d)(5) of this sec-
tion. In addition, the incinerator shall
meet any other requirements that may
be prescribed pursuant to paragraph
(d)(4) of this section.

(1) The mass air emissions from the
incinerator shall be no greater than
0.00lg PCB/kg of the PCB introduced
into the incinerator.

(2) The incinerator shall comply with
the provisions of paragraphs (a)(2), (3),
(4), (6), (7), (8)(4) and (ii), and (9) of this
section,

(c) Maintenance of data and records.
All data and records required by this
section shall be maintained in accord-
ance with §761.180, Records and moni-
toring.

(d) Approval of incinerators. Prior to
the incineration of PCBs and PCB
Items the owner or operator of an in-
cinerator shall receive the written ap-
proval of the Agency Regional Admin-
istrator for the region in which the in-
cinerator is located, or the appropriate
official at EPA Headquarters. Approval
from the appropriate official at EPA
Headquarters may be effective in all
ten EPA regions. Such approval shall
be obtained in the following manner:

(1) Application. The owner or operator
shall submit to the Regional Adminis-
trator or the Director, Office of Re-
source Conservation and Recovery an
application which contains:

(i) The location of the incinerator;

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(ii) A detailed description of the in-
cinerator including general site plans
and design drawings of the incinerator;

(iii) Engineering reports or other in-
formation on the anticipated perform-
ance of the incinerator;

(iv) Sampling and monitoring equip-
ment and facilities available;

(v) Waste volumes expected to be in-
cinerated;

(vi) Any local, State, or Federal per-
mits or approvals; and

(vii) Schedules and plans for com-
plying with the approval requirements
of this regulation.

(2) Trial burn. (i) Following receipt of
the application described in paragraph
(d)(1) of this section, EPA shall deter-
mine if a trial burn is required and no-
tify the person who submitted the re-
port whether a trial burn of PCBs and
PCB Items must be conducted, EPA
may require the submission of any
other information that EPA finds to be
reasonably necessary to determine the
need for a trial burn. Such other infor-
mation shall be restricted to the types
of information required in paragraphs
(d)(1)(i) through (vii) of this section.

(ii) If EPA determines that a trail
burn must be held, the person who sub-
mitted the report described in para-
graph (d)(1) of this section shall submit
to the Regional] Administrator or the
Director, Office of Resource Conserva-
tion and Recovery a detailed plan for
conducting and monitoring the trail
burn. At a minimum, the plan must in-
clude:

(A) Date trial burn is to be con-
ducted;

(B) Quantity and type of PCBs and
PCE Items to be incinerated;

(C) Parameters to be monitored and
location of sampling points;

(D) Sampling frequency and methods
and schedules for sample analyses; and

(E) Name, address, and qualifications
of persons who will review analytical
results and other pertinent data, and
who will perform a technical evalua-
tion of the effectiveness of the trial
burn.

(iii) Following receipt of the plan de-
scribed in paragraph (d)(2)(ii) of this
section, EPA will approve the plan, re-
quire additions or modifications to the
plan, or disapprove the plan. If the plan

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is disapproved, EPA will notify the per-
son who submitted the plan of such dis-
approval, together with the reasons
why it is disapproved. That person may
thereafter submit a new plan in accord-
ance with paragraph (d)(2)(ii) of this
section. If the plan is approved (with
any additions or modifications which
EPA may prescribe), EPA will notify
the person who submitted the plan of
the approval. Thereafter, the trial burn
shall take place at a date and time to
be agreed upon between EPA and the
person who submitted the plan.

(3) Other information. In addition to
the information contained in the re-
port and plan described in paragraphs
(d)(1) and (2) of this section, EPA may
require the owner or operator to sub-
mit any other information that the
EPA finds to be reasonably necessary
to determine whether an incinerator
shall be approved.

NoTr: The Regional Administrator will
have available for review and inspection an
Agency manual containing information on
sampling methods and analytical procedures
for the parameters required in §'761.70(a) (3),
(4), (6), and (7) plus any other parameters he/
she may determine to be appropriate. Owners
or operators are encouraged to review this
manual prior to submitting any report re-
quired in §761.70.

(4) Contents of approval. (i) Except as
provided in paragraph (d)(5) of this sec-
tion, the Regional Administrator or
the appropriate official at EPA Head-
quarters may not approve an inciner-
ator for the disposal of PCBs and PCB
Items unless he finds that the inciner-
ator meets all of the requirements of
paragraphs (a) and/or (b) of this sec-
tion.

(ii) In addition to the requirements of
paragraphs (a) and/or (b) of this sec-
tion, EPA may include in an approval
any other requirements that EPA finds
are necessary to ensure that operation
of the incinerator does not present an
unreasonable risk of injury to health
or the environment from PCBs. Such
requirements may include a fixed pe-
riod of time for which the approval is
valid.

(5) Waivers. An owner or operator of
the incinerator may submit evidence to
the Regional Administrator or the Di-
rector, Office of Resource Conservation
and Recovery that operation of the in-

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cinerator will not present an unreason-
able risk of injury to health or the en-
vironment from PCBs, when one or
more of the requirements of paragraphs
(a) and/or (b) of this section are not
met. On the basis of such evidence and
any other available information, EPA
may, in its discretion, find that any re-
quirement of paragraphs (a) and (b) of
this section is not necessary to protect
against such a risk, and may waive the
requirements in any approval for that
incinerator. Any finding and waiver
under this paragraph must be stated in
writing and included as part of the ap-
proval.

(6) Persons approved. An approva) will
designate the persons who own and who
are authorized to operate the inciner-
ator, and will apply only to such per-
sons, except as provided in paragraph
(d)(8) of this section.

(7) Final approval, Approval of an in-
cinerator will be in writing and signed
by the appropriate EPA official. The
approval will state all requirements
applicable to the approved incinerator.

(8) Transfer of property. Any person
who owns or operates an approved in-
cinerator must notify EPA at least 30
days before transferring ownership in
the incinerator or the property it
stands upon, or transferring the right
to operate the incinerator. The trans-
feror must also submit to EPA, at least
30 days before such transfer, a nota-
rized affidavit signed by the transferee
which states that the transferee will
abide by the transferor’s EPA inciner-
ator approval. Within 30 days of receiv-
ing such notification and affidavit,
EPA will issue an amended approval
substituting the transferee’s name for
the transferor’s name, or EPA may re-
quire the transferee to apply for a new
incinerator approval. In the latter
case, the transferee must abide by the
transferor’s EPA approval until EPA
issues the new approval to the trans-
feree.

(Sec, 6, Pub. L. 94-469, 90 Stat. 2020 (16 U.S.C.
2605)

[44 FR 31542, May 31, 1979. Redesignated at 47
FR 19527, May 6, 1982, and amended at 48 FR
13185, Mar. 30, 1983; 49 FR 26191, July 10, 1984;
63 FR 12624, Apr. 15, 1988; 58 FR 16809, Mar. 24,
1993; 63 FR 35439, June 29, 1998; 72 FR 67240,
Oct, 9, 2007; 74 FR 30233, June 25, 2009)

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§761.71 High efficiency boilers.

(a) To burn mineral oil dielectric
fluid containing a PCB concentration
of 250 ppm, but <500 ppm:

(1) The boiler shall comply with the
following criteria:

(i) The boiler is rated at a minimum
of 50 million BTU hours.

(ii) If the boiler uses natural gas or
oil as the primary fuel, the carbon
monoxide concentration in the stack is
<50 ppm and the excess oxygen is at
least 3 percent when PCBs are being
burned.

(iii) If the boiler uses coal as the pri-
mary fuel, the carbon monoxide con-
centration in the stack is <100 ppm and
the excess oxygen is at least 3 percent
when PCBs are being burned.

(iv) The mineral oil dielectric fluid
does not comprise more than 10 percent
(on a volume basis) of the total fuel
feed rate.

(v) The mineral oil dielectric fluid is
not fed into the boiler unless the boiler
is operating at its normal operating
temperature (this prohibits feeding
these fluids during either start up or
shut down operations).

(vi) The owner or operator of the
boiler:

(A) Continuously monitors and
records the carbon monoxide con-
centration and excess oxygen percent-
age in the stack gas while burning min-
eral oil dielectric fluid; or

(B) If the boiler will burn <30,000 gal-
lons of mineral oil dielectric fluid per
year, measures and records the carbon
monoxide concentration and excess ox-
ygen percentage in the stack gas at
regular intervals of no longer than 60
minutes while burning mineral oil di-
electric fluid.

(vii) The primary fuel feed rates,
mineral oil dielectric fluid feed rates,
and total quantities of both primary
fuel and mineral oil dielectric fluid fed
to the boiler are measured and re-
corded at regular intervals of no longer
than 15 minutes while burning mineral
oil dielectric fluid.

(viii) The carbon monoxide con-
centration and the excess oxygen per-
centage are checked at least once
every hour that mineral oil dielectric
fluid is burned. If either measurement
falls below the levels specified in this
section, the flow of mineral oil dielec-

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tric fluid to the boiler shall be stopped
immediately.

(2) Thirty days before any person
burns mineral oil dielectric fluid in the
boiler, the person gives written notice
to the EPA Regional Administrator for
the EPA Region in which the boiler is
located and that the notice contains
the following information:

Gi) The name and address of the
owner or operator of the boiler and the
address of the boiler,

(ii) The boiler rating in units of BTU/
hour.

(iii) The carbon monoxide concentra-
tion and the excess oxygen percentage
in the stack of the boiler when it is op-
erated in a manner similar to the man-
ner in which it will be operated when
mineral oil dielectric fluid is burned.

(iv) The type of equipment, appa-
ratus, and procedures to be used to
control the feed of mineral oil dielec-
tric fluid to the boiler and to monitor
and record the carbon monoxide con-
centration and excess oxygen percent-
age in the stack.

(3) When burning mineral oil dielec-
tric fluid, the boiler must operate at a
level of output no less than the output
at which the measurements required
under paragraph (a)(2)(iii) of this sec-
tion were taken.

(4) Any person burning mineral oil di-
electric fluid in a boiler obtains the
following information and retains the
information for 5 years at the boiler lo-
cation:

(i) The data required to be collected
under paragraphs (a)(1)(vi) and (vii) of

-this section,

(ii) The quantity of mineral oil di-
electric fluid burned in the boiler each
month.

(b) To burn liquids, other than min-
eral oil dielectric fluid, containing a
PCB concentration of 250 ppm, but <500
ppm:

(1) The boiler shall comply with the
following criteria:

(i) The boiler is rated at a minimum
of 50 million BTU/hour.

(ii) If the boiler uses natural gas or
oil as the primary fuel, the carbon
monoxide concentration in the stack is
=50 ppm and the excess oxygen is at
least 3 percent when PCBs are being
burned.

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(iii) If the boiler uses coal as the pri-
mary fuel, the carbon monoxide con-
centration in the stack is <100 ppm and
the excess oxygen is at least 3 percent
when PCBs are being burned.

(iv) The waste does not comprise
more than 10 percent (on a volume
basis) of the total fuel feed rate.

(v) The waste is not fed into the boil-
er unless the boiler is operating at its
normal operating temperature (this
prohibits feeding these fluids during ei-
ther start up or shut down operations).

(vi) The owner or operator of the
boiler must:

(A) Continuously monitor and record
the carbon monoxide concentration
and excess oxygen percentage in the
stack gas while burning waste fluid; or

{B) If the boiler will burn <30,000 gal-
lons of waste fluid per year, measure
and record the carbon monoxide con-
centration and excess oxygen percent-
age in the stack gas at regular inter-
vals of no longer than 60 minutes while
burning waste fluid.

(vii) The primary fuel feed rate,
waste fluid feed rate, and total quan-
tities of both primary fuel and waste
fluid fed to the boiler must be meas-
ured and recorded at regular intervals
of no longer than 15 minutes while
burning waste fluid.

(vill) The carbon monoxide con-
centration and the excess oxygen per-
centage must be checked at least once
every hour that the waste is burned. If
either measurement falls below the
levels specified in either (a)(1)(ii) or
(a)(1)iii) of this section, the flow of
waste to the boiler shall] be stopped im-
mediately.

(2) Prior to any person burning these
liquids in the boiler, approval must be
obtained from the EPA Regional Ad-
ministrator for the EPA Region in
which the boiler is located and any per-
sons seeking such approval must sub-
mit to the EPA Regional Adminis-
trator a request containing at least the
following information:

(i) The name and address of the
owner or operator of the boiler and the
address of the boiler.

(ii) The boiler rating in units of BTU/
hour.

(iii) The carbon monoxide concentra-
tion and the excess oxygen percentage
in the stack of the boiler when it is op-

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erated in a manner similar to the man-
ner in which it will be operated when
low concentration PCB liquid is
burned.

(iv) The type of equipment, appa-
Tatus, and procedures to be used to
control the feed of mineral oil dielec-
tric fluid to the boiler and to monitor
and record the carbon monoxide con-
centration and excess oxygen percent-
age in the stack.

.(v) The type of waste to be burned
(e.g., hydraulic fluid, contaminated
fuel oil, heat transfer fluid, etc.).

(vi) The concentration of PCBs and of
any other chlorinated hydrocarbon in
the waste and the results of analyses
using the ASTM International methods
as follows: Carbon and hydrogen con-
tent using ASTM D3178-84, nitrogen
content using ASTM #25867 (Re-
approved 1987), sulfur content using
ASTM D2784-89, ASTM D1266-87, or
ASTM D129-64 (Reapproved 1978), chlo-
rine content using ASTM D808-87,
water and sediment content using ei-
ther ASTM D2709-88 or ASTM D1796-83
(Reapproved 1990), ash content using
ASTM D482-87, calorific value using
ASTM D240-87, carbon residue using ei-
ther ASTM D2158-89 or ASTM D524-88,
and flash point using ASTM D93-09 (all
standards incorporated by reference in
§'761.19).

(vii) The quantity of wastes esti-
mated to be burned in a 30-day period.

(viii) An explanation of the proce-
dures to be followed to ensure that
burning the waste will not adversely
affect the operation of the boiler such
that combustion efficiency will de-
crease.

(3) On the basis of the information in
paragraph (b)(2) of this section and any
other available information, the Re-
gional Administrator may, at his/her
discretion, find that the alternate dis-
posal method will not present an un-
reasonable risk of injury to health or
the environment and approve the use of
the boiler.

(4) When burning PCB wastes, the
boiler must operate at a level of output
no less than the output at which the
measurements required under para-
graph (b)(2)(iii) of this section were
taken.

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(5) Any person burning liquids in
boilers approved as provided in para-
graph (b)(8) of this section, must obtain
the following information and retain
the information for 5 years at the boil-
er location:

(i) The data required to be collected
in paragraphs (b)(1)(vi) and (b)(1)(vii) of
this section.

di) The quantity of low concentra-
tion PCB liquid burned in the boiler
each month.

(iii) The analysis of the waste re-
quired by paragraph (b)(2)(vi) of this
section taken once a month for each
month during which low concentration
PCB liquid is burned in the boiler.

(63 FR 35454, June 29, 1998, as amended at 77
FR 2464, Jan. 18, 2012)

§761.72 Scrap metal recovery ovens
and smelters.

Any person may dispose of residual
PCBs associated with PCB-Contami-
nated articles regulated for disposal
under §761.60(b), metal surfaces in PCB
remediation waste regulated under
§ 761.61, or metal surfaces in PCB bulk
product waste regulated under
§§761.62(a)(6) and 761.79(c)(6), from
which all free-flowing liquids have been
removed:

(a) In a scrap metal recovery oven:

(1) The oven shall have at least two
enclosed (i.e., negative draft, no fugi-
tive emissions) interconnected cham-
bers.

(2) The equipment with all free-flow-
ing liquid removed shall first be placed
in the primary chamber at room tem-
perature.

(3) The primary chamber shall oper-
ate at a temperature between 537 °C
and 650 °C for a minimum of 2% hours
and reach a minimum temperature of
650 °C (1,202 °F) once during each heat-
ing cycle or batch treatment of
unheated, liquid-free equipment.

(4) Heated gases from the primary
chamber must feed directly into the
secondary chamber (i.e,, afterburner)
which must operate at a minimum
temperature of 1,200 °C (2,192 °F) with
at least a 3 percent excess oxygen and
a retention time of 2.0 seconds with a
minimum combustion efficiency of 99.9
percent according to the definition in
§'761.70(a,)(2).

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(5) Heating of the primary chamber
shall not commence until the sec-
ondary chamber has reached a tem-
perature of 1,200 +100 °C (2,192 ° +180 °F).

(6) Continuous emissions monitors
and recorders for carbon dioxide, car-
bon monoxide, and excess oxygen in
the secondary chamber and continuous
temperature recorders in the primary
and secondary chambers shall be in-
stalled and operated while the primary
and secondary chambers are in oper-
ation to assure that the two chambers
are within the operating parameters in
paragraphs (a)(3) through (a)(5) of this
section.

(7) Emissions from the secondary
chamber must be vented through an ex-
haust gas stack in accordance with ei-
ther:

(i) State or local air regulations or
permits, or

(ii) The standards in paragraph (a)(8)
of this section.

(8) Exhaust gas stack emissions shall
be for: particulates <0.015 grains/dry
standard cubic foot, sulfur dioxide <35
parts per million by volume (ppmv), ni-
trogen oxide <150 ppmv, carbon mon-
oxide <85 ppmv, and hydrogen chloride
<35 ppmy.

(9) A measurement of the tempera-
ture in the secondary chamber at the
time the primary chamber starts heat-
ing must be taken, recorded and re-
tained at the facility for 3 years from
the date each charge is introduced into
the primary chamber.

(b) By smelting:

(1) The operating temperature of the
hearth must be at least 1,000 °C at the
time it is charged with any PCB-Con-
taminated non-porous surface.

(2) Each charge containing a PCB-
Contaminated item must be added into
molten metal or a hearth at 21,000 °C.

(3) Successive charges may not be in-
troduced into the hearth in less than
15-minute intervals,

(4) The smelter must operate in com-
pliance with any applicable emissions
standards in part 60 of this chapter.

(5) The smelter must have an oper-
ational device which accurately meas-
ures directly or indirectly, the tem-
perature in the hearth.

(6) Take, record and retain at the dis-
posal facility for 3 years from the date
each charge is introduced, a reading of

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the temperature in the hearth at the
time it is charged with a non-porous
surface item.

(c)(1) Scrap metal recovery ovens and
smelters must either have a final per-
mit under RCRA (part 266, subpart H of
this chapter and §270.66 of this chapter)
or be operating under a valid State air
emissions permit which includes a
standard for PCBs.

(2) Scrap metal recovery ovens and
smelters disposing of PCBs must pro-
vide notification as disposers of PCBs,
are not required to submit annual re-
ports, and shall otherwise comply with
all applicable provisions of subparts J
and K of this part, as well as other ap-
plicable Federal, State, and local laws
and regulations.

(8) In lieu of the requirements in
paragraph (c)(1) of this section, upon
written request by the owner or oper-
ator of a scrap metal recovery oven or
smelter, the EPA Regional Adminis-
trator, for the Region where the oven
or smelter is located, may make a find-
ing in writing, based on a site-specific
risk assessment, that the oven or
smelter does not pose an unreasonable
risk of injury to health or the environ-
ment because it is operating in compli-
ance with the parameters and condi-
tions listed in paragraph (a) or (b) of
this section even though the oven or
smelter does not have a RCRA or State
air permit as required by paragraph
(c)(1) of this section. The written re-
quest shall include a site-specific risk
assessment.

(d) PCB liquids, other liquid waste
qualifying as waste oils which may be
used as provided for at §'761.20(e), or
PCB remediation waste, other than
PCB-Contaminated articles, may not
be disposed of in a scrap metal recov-
ery oven or smelter unless approved or
otherwise allowed under subpart D of
this part,

[63 FR 35455, June 29, 1998, as amended at 64
FR 83761, June 24, 1999]

§761.75 Chemical waste landfills.

This section applies to facilities used
to dispose of PCBs in accordance with
the part.

(a) General. A chemical waste landfill
used for the disposal of PCBs and PCB
Items shall be approved by the Agency
Regional Administrator pursuant to

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paragraph (c) of this section. The land-
fill shall meet all of the requirements
specified in paragraph (b) of this sec-
tion, unless a waiver from these re-
quirements is obtained pursuant to
paragraph (c)(4) of this section. In addi-
tion, the landfill shall meet any other
requirements that may be prescribed
pursuant to paragraph (c)(3) of this sec-
tion.

(b) Technical requirements. Require-
ments for chemical waste landfills used
for the disposal of PCBs and PCB Items
are as follows:

(1) Soils. The landfill site shall be lo-
cated in thick, relatively impermeable
formations such as large-area clay
pans. Where this is not possible, the
soil shall have a high clay and silt con-
tent with the following parameters:

(i) In-place soil thickness, 4 feet or
compacted soil liner thickness, 3 feet;

(ii) Permeability (cm/sec), equa] to or
less than 1 x 10-7;

(iii) Percent soil passing No. 200
Sieve, >30;

(iv) Liquid Limit, >30; and

(v) Plasticity Index >15.

(2) Synthetic membrane liners. Syn-
thetic membrane liners shall be used
when, in the judgment of the Regional
Administrator, the hydrologic or geo-
logic conditions at the landfill require
such a liner in order to provide at least
a permeability equivalent to the soils
in paragraph (b)(1) of this section.
Whenever a synthetic liner is used at a
landfill site, special precautions shall
be taken to insure that its integrity is
maintained and that it is chemically
compatible with PCBs. Adequate soil
underlining and soil cover shall be pro-
vided to prevent excessive stress on the
liner and to prevent rupture of the
liner. The liner must have a minimum
thickness of 30 mils.

(3) Hydrologic conditions. The bottom
of the landfill shall be above the histor-
ical high groundwater table as provided
below. Floodplains, shorelands, and
groundwater recharge areas shall be
avoided. There shall be no hydraulic
connection between the site and stand-
ing or flowing surface water. The site
shall have monitoring wells and leach-
ate collection. The bottom of the land-
fill liner system or natural in-place
soil barrier shall be at least fifty feet
from the historical high water table.

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(4) Flood protection. (i) If the landfill
site is below the 100-year floodwater
elevation, the operator shall provide
surface water diversion dikes around
the perimeter of the landfill site with a
minimum height equal to two feet
above the 100-year floodwater ele-
vation.

(ii) If the landfill site is above the
100-year floodwater elevation, the oper-
ators shall provide diversion structures
capable of diverting all of the surface
water runoff from a 24-hour, 25-year
storm.

(5) Topography. The landfill site shall
be located in an area of low to mod-
erate relief to minimize erosion and to
help prevent landslides or slumping.

(6) Monitoring systems—(i) Water sam-
pling. (A) For all sites receiving PCBs,
the ground and surface water from the
disposal site area shall be sampled
prior to commencing operations under
an approval provided in paragraph (c)
of this section for use as baseline data,

(B) Any surface watercourse des-
ignated by the Regional Administrator
using the authority provided in para-
graph (c)(3)Gi) of this section shall be
sampled at least monthly when the
landfill is being used for disposal oper-
ations.

(C) Any surface watercourse des-
ignated by the Regional Administrator
using the authority provided in para-
graph (c)(3)(ii) of this section shall be
sampled for a time period specified by
the Regional Administrator on a fre-
quency of no less than once every six
months after final closure of the dis-
posal area.

(ii) Groundwater monitor wells. (A) If
underlying earth materials are homog-
enous, impermeable, and uniformly
sloping in one direction, only three
sampling points shall be necessary.
These three points shall be equally
spaced on a line through the center of
the disposal area and extending from
the area of highest water table ele-
vation to the area of the lowest water
table elevation on the property.

(B) All monitor wells shall be cased
and the annular space between the
monitor zone (zone of saturation) and
the surface shall be completely
backfilled with Portland cement or an
equivalent material and plugged with
Portland cement to effectively prevent

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percolation of surface water into the
well bore. The well opening at the sur-
face shall have a removable cap to pro-
vide access and to prevent entrance of
rainfall or stormwater runoff. The well
shall be pumped to remove the volume
of liquid initially contained in the well
before obtaining a sample for analysis.
The discharge shall be treated to meet
applicable State or Federal discharge
standards or recycled to the chemical
waste landfill.

Gii) Water analysis. As a minimum,
all samples shall be analyzed for the
following parameters, and all data and
records of the sampling and analysis
shall be maintained as required in
§761.180(d)(1). Sampling methods and
analytical procedures for these param-
eters shall comply with those specified
in 40 CFR part 136 as amended in 41 FR
52779 on December 1, 1976.

(A) PCBs.

(B) pH.

(C) Specific conductance.

(D) Chlorinated organics.

(7) Leachate collection. A leachate col-
lection monitoring system shall be in-
stalled above the chemical waste land-
fill. Leachate collection systems shall
be monitored monthly for quantity and
physicochemical characteristics of
leachate produced. The leachate should
be either treated to acceptable limits
for discharge in accordance with a
State or Federal permit or disposed of
by another State or Federally approved
method. Water analysis shall be con-
ducted as provided in paragraph
(b)(6)(iii) of this section. Acceptable
leachate monitoring/collection systems
shall be any of the following designs,
unless a waiver is obtained pursuant to
paragraph (c)(4) of this section.

(i) Simple leachate collection. This sys-
tem consists of a gravity flow
drainfield installed above the waste
disposal unit liner. This design is rec-
ommended for use when semi-solid or
leachable solid wastes are placed in a
lined pit excavated into a relatively
thick, unsaturated, homogenous layer
of low permeability soil.

(ii) Compound leachate collection. This
system consists of a gravity flow
drainfield installed above the waste
disposal unit liner and above a sec-
ondary installed liner. This design is
recommended for use when semi-liquid

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or leachable solid wastes are placed in
a lined pit excavated into relatively
permeable soil.

(iii) Suction lysimeters, This system
consists of a network of porous ceramic
cups connected by hoses/tubing to a
vacuum pump. The porous ceramic
cups or suction lysimeters are installed
along the sides and under the bottom
of the waste disposal unit liner. This
type of system works best when in-
stalled in a relatively permeable un-
saturated soil immediately adjacent to
the bottom and/or sides of the disposal
facility.

(8) Chemical waste landfill operations.
(i) PCBs and PCB Items shall be placed
in a landfill in a manner that will pre-
vent damage to containers or articles.
Other wastes placed in the landfill that
are not chemically compatible with
PCBs and PCB Items including organic
solvents shall be segregated from the
PCBs throughout the waste handling
and disposal process.

(ii) An operation plan shall be devel-
oped and submitted to the Regional
Administrator for approval as required
in paragraph (c) of this section. This
plan shall include detailed expla-
nations of the procedures to be used for
recordkeeping, surface water handling
procedures, excavation and backfilling,
waste segregation burial coordinates,
vehicle and equipment movement, use
of roadways, leachate collection sys-
tems, sampling and monitoring proce-
dures, monitoring wells, environmental
emergency contingency plans, and se-
curity measures to protect against
vandalism and unauthorized waste
placements. EPA guidelines entitled
“Thermal Processing and Land Dis-
posal of Solid Waste’’ (39 FR 29337, Aug.
14, 1974) are a useful reference in prepa-
ration of this plan. If the facility is to
be used to dispose of liquid wastes con-
taining between 50 ppm and 500 ppm
PCB, the operations plan must include
procedures to determine that liquid
PCBs to be disposed of at the landfill
do not exceed 500 ppm PCB and meas-
ures to prevent the migration of PCBs
from the landfill. Bulk liquids not ex-
ceeding 500 ppm PCBs may be disposed
of provided such waste is pretreated
and/or stabilized (e.¢., chemically
fixed, evaporated, mixed with dry inert
absorbant) to reduce its liquid content

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or increase its solid content so that a
non-flowing consistency is achieved to
eliminate the presence of free liquids
prior to fina] disposal in a landfill. PCB
Container of liquid PCBs with a con-
centration between 50 and 500 ppm PCB
may be disposed of if each container is
surrounded by an amount of inert
sorbant material capable of absorbing
all of the liquid contents of the con-
tainer.

(iii) Ignitable wastes shall not be dis-
posed of in chemical waste landfills.
Liquid ignitable wastes are wastes that
have a flash point less than 60 °C (140
°F) as determined by the following
method or an equivalent method: Flash
point of liquids shall be determined by
a Pensky-Martens Closed Cup Tester,
using the protocol specified in ASTM
D93-09, or the Setaflash Closed Tester
using the protocol specified in ASTM
D3278-89 (all standards incorporated by
reference in §761.19),

(iv) Records shall be maintained for
all PCB disposal operations and shall
include information on the PCB con-
centration in liquid wastes and the
three dimensional burial coordinates
for PCBs and PCB Items. Additional
records shall be developed and main-
tained as required in §761.180.

(9) Supporting facilities. (i) A six foot
woven mesh fence, wall, or similar de-
vice shall be placed around the site to
prevent unauthorized persons and ani-
mals from entering.

(ii) Roads shall be maintained to and
within the site which are adequate to
support the operation and maintenance
of the site without causing safety or
nuisance problems or hazardous condi-
tions.

(iii) The site shall be operated and
maintained in a manner to prevent
safety problems or hazardous condi-
tions resulting from spilled liquids and
windblown materials.

(c) Approval of chemical waste landfiils.
Prior to the disposal of any PCBs and
PCB Items in a chemical waste landfill,
the owner or operator of the landfill
shall receive written approval of the
Agency Regional Administrator for the
Region in which the landfill is located.
The approval shall be obtained in the
following manner:

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(1) Initial report. The owner or oper-
ator shall submit to the Regional Ad-
ministrator an initial report which
contains: ,

(i) The location of the landfill;

(ii) A detailed description of the
landfill including general site plans
and design drawings;

(iii) An engineering report describing
the manner is which the landfill com-
plies with the requirements for chem-
ical waste landfills specified in para-
graph (b) of this section;

(iv) Sampling and monitoring equip-
ment and facilities available;

(v) Expected waste volumes of PCBs;

(vi) General description of waste ma-
terials other than PCBs that are ex-
pected to be disposed of in the landfill;

(vii) Landfill operations plan as re-
quired in paragraph (b) of this section;

(viii) Any local, State, or Federal
permits or approvals; and

(ix) Any schedules or plans for com-
plying with the approval requirements
of these regulations.

(2) Other information. In addition to
the information contained in the re-
port) described in paragraph (c)(1) of
this section, the Regional Adminis-
trator may require the owner or oper-
ator to submit any other information
that the Regional Administrator finds
to be reasonably necessary to deter-
mine whether a chemical] waste landfill
should be approved. Such other infor-
mation shall be restricted to the types
of information required in paragraphs
(c)(1) (i) through (ix) of this section.

(3) Contents of approval. (i) Except as
provided in paragraph (c)(4) of this sec-
tion the Regional Administrator may
not approve a chemical waste landfill
for the disposal of PCBs and PCB
Items, unless he finds that the landfill
meets all of the requirements of para-
graph (b) of this section.

(ii) In addition to the requirements of
paragraph (b) of this section, the Re-
gional Administrator may include in
an approval any other requirements or
provisions that the Regional Adminis-
trator finds are necessary to ensure
that operation of the chemical waste
landfill does not present an unreason-
able risk of injury to health or the en-
vironment from PCBs. Such provisions
may include a fixed period of time for
which the approval is valid.

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The approval may also include a stipu-
lation that the operator of the chem-
ical waste landfill report to the Re-
gional Administrator any instance
when PCBs are detectable during moni-
toring activities conducted pursuant to
paragraph (b)(6) of this section.

(4) Waivers. An owner or operator of a
chemical waste landfill may submit
evidence to the Regional Adminis-
trator that operation of the landfill
will not present an unreasonable risk
of injury to health or the environment
from PCBs when one or more of the re-
quirements of paragraph (b) of this sec-
tion are not met. On the basis of such
evidence and any other available infor-
mation, the Regional Administrator
may in his discretion find that one or
more of the requirements of paragraph
(b) of this section is not necessary to
protect against such a risk and may
waive the requirements in any ap-
proval for that landfill. Any finding
and waiver under this paragraph will
be stated in writing and included as
part of the approval.

(5) Persons approved. Any approval
will designate the persons who own and
who are authorized to operate the
chemical waste landfill, and will apply
only to such persons, except as pro-
vided by paragraph (c)(7) of this sec-
tion.

(6) Final approval. Approval of a
chemical waste landfill will be in writ-
ing and will be signed by the Regional
Administrator. The approval will state
all requirements applicable to the ap-
proved landfill.

(7) Transfer of property. Any person
who owns or operates an approved
chemical waste landfill must notify
EPA at least 80 days before transfer-
ring ownership in the property or
transferring the right to conduct the
chemical waste landfill operation. The
transferor must also submit to EPA, at
least 30 days before such transfer, a no-
tarized affidavit signed by the trans-
feree which states that the transferee
will abide by the transferor’s EPA
chemical waste landfill approval. With-
in 30 days of receiving such notifica-
tion and affidavit, EPA will issue an
amended approval substituting the
transferee’s name for the transferor’s
name, or EPA may require the trans-
feree to apply for a new chemical waste

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landfill approval. In the latter case, the
transferee must abide by the trans-
feror’s EPA approval until EPA issues
the new approval to the transferee.

(Sec. 6, Pub. L. 94-469, 90 Stat. 2020 (15 U.S.C,
2605)

[44 FR 31542, May 31, 1979. Redesignated at 47
FR 19527, May 6, 1982, and amended at 48 FR
5730, Feb. 8, 1983; 49 FR 28191, July 10, 1984; 53
FR 12524, Apr. 15, 1988; 63 FR 21641, June 9,
1988; 57 FR 19323, Apr. 16, 1992; 63 FR 35456,
June 29, 1998; 77 FR 2464, Jan. 18, 2012]

§761.77 Coordinated approval.

(a) General requirements. Notwith-
standing any other provision of this
part, the EPA Regional Administrator
for the Region in which a PCB disposal
or PCB commercial storage facility de-
scribed in paragraphs (b) and (c) of this
section is located may issue a TSCA
PCB Coordinated Approval to the per-
sons described in those paragraphs if
the conditions listed in this section are
met. A TSCA PCB Coordinated Ap-
proval will designate the persons who
own and who are authorized to operate
the facilities described in paragraphs
(b) and (c) of this section and will apply
only to such persons, All requirements,
conditions, and limitations of any
other permit or waste management
document cited or described in para-
graphs (b) and (c) of this section, as the
technical or legal basis on which the
TSCA PCB Coordinated Approval is
issued, are conditions of the TSCA PCB
Coordinated Approval.

(1) Persons seeking a TSCA PCB Co-
ordinated Approval shall submit a re-
quest for approval by certified mail, to
the EPA Regional Administrator for
the Region in which the activity will
take place. Persons seeking a TSCA
PCB Coordinated Approval for a new
PCB activity shall submit the request
for approval at the same time they
seek a permit, approval, or other ac-
tion for a PCB waste management ac-
tivity under any other Federal or State
authority.

(i) The request for a TSCA PCB Co-
ordinated Approval shall include a
copy of the letter from EPA announc-
ing or confirming the EPA identifica-
tion number issued to the facility for
conducting PCB activities; the name,
organization, and telephone number of
the person who is the contact point for

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the non-TSCA Federal or State waste
management authority; a copy of the
relevant permit or waste management
document specified in paragraphs (b)
and (c) of this section, including all re-
quirements, conditions, and limita-
tions, if the EPA Regional Adminis-
trator does not have a copy of the doc-
ument, or a description of the waste
management activities to be conducted
if a permit or other relevant waste
Management document has not been
issued; and a certification that the per-
son who owns or operates the facility is
aware of and will adhere to the TSCA
PCB reporting and recordkeeping re-
quirements at subparts J and K of this
part.

(ii) The EPA Regional Administrator
shall review the request for complete-
ness, for compliance with the require-
ments of paragraphs (b) and (c) of this
section, and to ensure that the PCB ac-
tivity for which approval is requested
will not present an unreasonable risk
of injury to health or the environment.
The EPA Regional Administrator shall
either:

(A) Issue a written notice of defi-
ciency explaining why the request for
approval is deficient. If appropriate,
the EPA Regional Administrator may
either:

(1) Request additional information to
cure the deficiency.

(2) Deny the request for a TSCA PCB
Coordinated Approval.

(B) Issue a letter granting or denying
the TSCA PCB Coordinated Approval.
If the EPA Regional Administrator
grants the TSCA PCB Coordinated Ap-
proval, he or she may acknowledge the
non-TSCA approval meets the regu-
latory requirements under TSCA as
written, or require additional condi-
tions the EPA Regional Administrator
has determined are necessary to pre-
vent unreasonable risk of injury to
health or the environment.

(C) If the EPA Regional Adminis-
trator denies a request for a Coordi-
nated -Approval under paragraphs
(a)\(1XGi)(A) or (a)(1)(i)(B) of this sec-
tion, the person who requested the
TSCA PCB Coordinated Approval may
submit an application for a TSCA Dis-
posal Approval.

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(2) The EPA Regional Administrator
may issue a notice of deficiency, re-
voke the TSCA PCB Coordinated Ap-
proval, require the person to whom the
TSCA PCB Coordinated Approval was
issued to submit an application for a
TSCA PCB approval, or bring an en-
forcement action under TSCA if he or
she determines that:

(i) Conditions of the approval relat-
ing to PCB waste management activi-
ties are not met.

(ii) The PCB waste management
process is being operated in a manner
which may result in an unreasonable
risk of injury to health or the environ-
ment.

(iii) The non-TSCA approval expires,
is revoked, is suspended, or otherwise
ceases to be in full effect.

(3) Any person with a TSCA PCB Co-
ordinated Approval must notify the
EPA Regional Administrator in writ-
ing within 5 calendar days of changes
relating to PCB waste requirements in
the non-TSCA waste management doc-
ument which serves as the basis for a
TSCA PCB Coordinated Approval.
Changes in the ownership of a commer-
cial storage facility which holds a
TSCA PCB Coordinated Approval shall
be handled pursuant to §'761.65(j).

(b) Any person who owns or operates
a facility that he or she intends to use
to landfill PCB wastes; incinerate PCB
wastes; dispose of PCB wastes using an
alternative disposal method that is
equivalent to disposal in an incinerator
approved under §761.70 or a high effi-
ciency boiler operating in compliance
with §761.71; or stores PCB wastes may
apply for a TSCA PCB Coordinated Ap-
proval. The EPA Regional Adminis-
trator may approve the request if the
EPA Regional Administrator deter-
mines that the activity will not pose
an unreasonable risk of injury to
health or the environment and the per-
son:

(1)(i) Has a waste management per-
mit or other decision or enforcement
document which exercises control over
PCB wastes, issued by EPA or an au-
thorized State Director for a State pro-
gram that has been approved by EPA
and is no less stringent in protection of
health or the environment than the ap-
plicable TSCA requirements found in
this part; or

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(ii) Has a PCB waste management
permit or other decision or enforce-
ment document issued by a State Di-
rector pursuant to a State PCB waste
management program no less stringent
in protection of health or the environ-
ment than the applicable TSCA re-
quirements found in this part; or

(iii) Is subject to a waste manage-
ment permit or other decision or en-
forcement document which is applica-
ble to the disposal of PCBs and which
was issued through the promulgation
of a regulation published in Title 40 of
the Code of Federal Regulations.

(2) Complies with the terms and con-
ditions of the permit or other decision
or enforcement document described in
paragraph (b)(1) of this section.

(3) Unless otherwise waived or modi-
fied in writing by the EPA Regional
Administrator, complies with
§761.75(b); §761.70(a)(1) through (a)(9),
(b)(1) and (b)(2), and (c); or the PCB
storage requirements at §§761.65(a), (c),
and (d)(2), as appropriate.

(4) Complies with the reporting and
recordkeeping requirements in sub-
parts J and K of this part.

(c) A person conducting research and
development (R&D) into PCB disposal
methods (regardless of PCB concentra-
tion), or conducting PCB remediation
activities may apply for a TSCA PCB
Coordinated Approval. The EPA Re-
gional Administrator may approve the
request if the EPA Regional Adminis-
trator determines that the activity
will not pose an unreasonable risk of
injury to health or the environment
and the person:

(Gj) Has a permit or other decision
and enforcement document issued or
otherwise agreed to by EPA, or permit
or other decision and enforcement doc-
ument issued by an authorized State
Director for a State program that has
been approved by EPA, which exercises
control over the management of PCB
wastes, and that person is in compli-
ance with all terms and conditions of
that document; or

(ii) Has a permit, which exercises
control over the management of PCB
wastes, issued by a State Director pur-
suant to a State PCB disposal program
no less stringent than the require-
ments in this part.

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(2) Complies with the terms and con-
ditions of that permit or other decision
and enforcement document.

(3) Complies with the reporting and
recordkeeping requirements in sub-
parts J and K of this part.

(63 FR 36456, June 29, 1998)

§761.79 Decontamination standards
and procedures.

(a) Applicability. This section estab-
lishes decontamination standards and
procedures for removing PCBs, which
are regulated for disposal, from water,
organic liquids, non-porous surfaces
(including scrap meta] from disassem-
bled electrical equipment), concrete,
and non-porous surfaces covered with a
porous surface, such as paint or coat-
ing on metal.

(1) Decontamination in accordance
with this section does not require a dis-
posal approval under subpart D of this
part.

(2) Materials from which PCBs have
been removed by decontamination in
accordance with this section may be
distributed in commerce in accordance
with §761.20(c)(5).

(8) Materials from which PCBs have
been removed by decontamination in
accordance with this section may be
used or reused in accordance with
§761.30(u).

(4) Materials from which PCBs have
been removed by decontamination in
accordance with this section, not in-
cluding decontamination waste and re-
siduals under paragraph (g) of this sec-
tion, are unregulated for disposal under
subpart D of this part.

(5) Any person decontaminating po-
rous surfaces other than concrete
under paragraph (b)(4) of this section
and non-porous surfaces covered with a
porous surface, such as paint or coat-
ing on metal, under paragraph (b)(3) or
(c)(6) of this section must obtain an al-
ternative decontamination approval in
accordance with paragraph (h) of this
section.

(6) Any person engaging in decon-
tamination under this section is re-
sponsible for determining and com-
plying with all other applicable Fed-
eral, State, and local laws and regula-
tions.

(b) Decontamination standards. Chop-
ping (including wire chopping), dis-

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tilling, filtering, oil/water separation,
spraying, soaking, wiping, stripping of
insulation, scraping, scarification or
the use of abrasives or solvents may be
used to remove or separate PCBs, to
the following standards, from liquids,
concrete, or non-porous surfaces.

(1) The decontamination standard for
water containing PCBs is:

(i) Less than 200 pg/L (i.e., <200 ppb
PCBs) for non-contact use in a closed
system where there are no releases;

(ii) For water discharged to a treat-
ment works (as defined in §503.9(aa) of
this chapter) or to navigable waters, <3
pg/L (approximately <3 ppb) or a PCB
discharge limit included in a permit
issued under section 307(b) or 402 of the
Clean Water Act; or

(iii) Less than or equal to 0.5 yue/L
(i.e., approximately <0.5 ppb PCBs) for
unrestricted use.

(2) The decontamination standard for
organic liquids and non-aqueous inor-
ganic liquids containing PCBs is <2
milligrams per kilogram (i.e., <2 ppm
PCBs).

(3) The decontamination standard for
non-porous surfaces in contact with
liquid and non-liquid PCBs is:

(i) For unrestricted use:

(A) For non-porous surfaces pre-
viously in contact with liquid PCBs at
any concentration, where no free-flow-
ing liquids are currently present, <10
micrograms PCBs per 100 square centi-
meters (<10 ,g/100 cm?) as measured by
a standard wipe test (§761.123) at loca-
tions selected in accordance with sub-
part P of this part.

(B) For non-porous surfaces in con-
tact with non-liquid PCBs (including
non-porous surfaces covered with a po-
rous surface, such as paint or coating
on metal), cleaning to Visual Standard
No. 2, Near-White Blast Cleaned Sur-
face Finish, of the National Associa-
tion of Corrosion Engineers (NACE). A
person shall verify compliance with
standard No. 2 by visually inspecting
all cleaned areas.

(ii) For disposal in a smelter oper-
ating in accordance with §761.72(b):

(A) For non-porous surfaces pre-
viously in contact with liquid PCBs at
any concentration, where no free-flow-
ing liquids are currently present, <100
ug/100 cm? as measured by a standard

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wipe test (§761.123) at locations se-
lected in accordance with subpart P of
this part.

(B) For non-porous surfaces in con-
tact with non-liquid PCBs (including
non-porous surfaces covered with a po-
rous surface, such as paint or coating
on metal), cleaning to Visual Standard
No. 3, Commercial Blast Cleaned Sur-
face Finish, of the National Associa-
tion of Corrosion Engineers (NACE). A
person shall verify compliance with
standard No. 3 by visually inspecting
all cleaned areas.

(4) The decontamination standard for
concrete is <10 1g/100 cm? as measured
by a standard wipe test (§761.123) if the
decontamination procedure is com-
menced within 72 hours of the initial
spill of PCBs to the concrete or portion
thereof being decontaminated.

(c) Self-implementing decontamination
procedures. The following self-imple-
menting decontamination procedures
are available as an alternative to the
measurement-based decontamination
methods specified in paragraph (b) of
this section. Any person performing
self-implementing decontamination
must comply with one of the following
procedures.

(1) Any person decontaminating a
PCB Container must do so by flushing
the internal surfaces of the container
three times with a solvent containing
<50 ppm PCBs. Each rinse shall use a
volume of the flushing solvent equal to
approximately 10 percent of the PCB
Container capacity.

(2) Any person decontaminating mov-
able equipment contaminated by PCBs,
tools, and sampling equipment may do
80 by:

(i) Swabbing surfaces that have con-
tacted PCBs with a solvent;

(ii) A double wash/rinse as defined in
subpart S of this part; or

(iii) Another applicable decontamina-
tion procedure in this section.

(3) Any person decontaminating a
non-porous surface in contact with
free-flowing mineral oil dielectric fluid
(MODEF) at levels 10,000 ppm PCBs
must do so as follows:

(i) Drain the free-flowing MODEF and
allow the residual surfaces to drain for
an additional 15 hours.

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(ii) Dispose of drained MODEF ac-
cording to paragraph (g) of this sec-
tion.

(iii) Soak the surfaces to be decon-
taminated in a sufficient amount of
clean (containing <2 ppm PCBs) per-
formance-based organic decontamina-
tion fluid (PODF) such that there is a
minimum of 800 ml of PODF for each
100 cm? of contaminated or potentially
contaminated surface for at least 15
hours at 220°C.

(iv) Approved PODFs include:

(A) Kerosene.

(B) Diesel fuel.

(C) Terpene hydrocarbons.

(D) Mixtures of terpene hydrocarbons
and terpene alcohols.

(v) Drain the PODF from the sur-
faces.

(vi) Dispose of the drained PODF in
accordance with paragraph (g¢) of this
section.

(4) Any person decontaminating a
non-porous surface in contact with
free-flowing MODEF containing >10,000
ppm PCB in MODEF or askarel PCB
(up to 70 percent PCB in a mixture of
trichlorobenzenes and
tetrachlorobenzenes) must do so as fol-
lows:

(i) Drain the free-flowing MODEF or
askarel and allow the residual surfaces
to drain for an additional 15 hours.

(ii) Dispose of drained MODEF or
askarel according to paragraph (g) of
this section.

(iii) Soak the surfaces to be decon-
taminated in a sufficient amount of
clean PODF (containing <2 ppm PCBs)
such that there is a minimum of 800 ml
of PODF for each 100 cm? of contami-
nated or potentially contaminated sur-
face for at least 15 hours at 220°C.

(iv) Approved PODFs include:

(A) Kerosene.

(B) Diesel fuel.

(C) Terpene hydrocarbons.

(D) Mixtures of terpene hydrocarbons
and terpene alcohols.

(v) Drain the PODF from the sur-
faces.

(vi) Dispose of the drained PODF in
accordance with paragraph (g) of this
section.

(vii) Resoak the surfaces to be decon-
taminated, pursuant to paragraph
(c)(3)(iii) of this section, in a sufficient
amount of clean PODF (containing <2

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ppm PCBs) such that there is a min-
imum of 800 ml of PODF for each 100
cm? of surface for at least 15 hours at
220 °C.

(viii) Drain the PODF from the sur-
faces.

(ix) Dispose of the drained PODF in
accordance with paragraph (g) of this
section.

(5) Any person decontaminating pip-
ing and air lines in an air compressor
system must do so as follows:

(i) Before decontamination proceeds,
disconnect or bypass the air compres-
sors and air dryers from the piping and
air lines and decontaminate the air
compressors and air dryers separately
in accordance with paragraphs (b),
(c)(1) through (c)(4), or (c)(6) of this
section. Dispose of filter media and
desiccant in the air dyers based on
their existing PCB concentration.

(ii) Test the connecting line and ap-
purtenances of the system to assure
that there is no leakage. Test by intro-
ducing air into the closed system at
from 90 to 100 pounds per square inch
(psi), Only if there is a pressure drop of
<5 psi in 30 minutes may decontamina-
tion take place.

(iii) When there is no leakage, fill the
piping and air lines with clean (con-
taining <2 ppm PCBs) solvent. Solvents
include PODF, aqueous potassium hy-
droxide at a pH between 9 and 12, or
water containing 5 percent sodium hy-
droxide by weight.

(iv) Circulate the solvent to achieve
turbulent flow through the piping and
air lines in the air compressor system
until the total volume of solvent cir-
culated equals 10 times the total vol-
ume of the particular article being de-
contaminated, then drain the solvent.
Calculate the total volume of solvent
circulated by multiplying the pump
rate by the time of pumping. Turbulent
flow means a Reynolds number range
from 20,000 to 43,000. Refill the system
with clean solvent and repeat the cir-
culation and drain process,

(6) Any person using thermal proc-
esses to decontaminate metal surfaces
in contact with PCBs, as required by
§761.62(a)(6), must use one of the fol-
lowing options:

(i) Surfaces in contact with liquid
and non-liquid PCBs at concentrations
<500 ppm may be decontaminated in a

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scrap metal recovery oven or smelter
for purposes of disposal in accordance
with § 761.72.

(ii) Surfaces in contact with liquid or
non-liquid PCBs at concentrations 2500
ppm may be smelted in a smelter oper-
ating in accordance with §761.72(b), but
must first be decontaminated in ac-
cordance with §761.72(a) or to a surface
concentration of <100 g/100 cm?.

(d) Decontamination solvents. (1) Un-
less otherwise provided in paragraphs
(c)(3) through (c)(5) of this section, the
solubility of PCBs in any solvent used
for purposes of decontamination under
this section must be 5 percent or more
by weight.

(2) The solvent may be reused for de-
contamination so long as its PCB con-
centration is <50 ppm.

(3) Solvent shall be disposed of under
paragraph (g) of this section.

(4) Other than as allowed in para-
graphs (c)(8) and (c)(4) of this section,
solvents may be tested and validated
for performance-based decontamina-
tion of non-porous surfaces contami-
nated with MODEF or other PCB liq-
uids, in accordance with the self-imple-
menting procedures found in subpart T
of this part. Specific conditions for the
performance-based testing from this
validation are determined in the vali-
dation study.

(e) Limitation of exposure and control
of releases. (1) Any person conducting
decontamination activities under this
section shall take necessary measures
to protect against direct release of
PCBs to the environment from the de-
contamination area.

(2) Persons participating in decon-
tamination activities shall wear or use
protective clothing or equipment to
protect against dermal contact or inha-
lation of PCBs or materials containing
PCBs.

(f) Sampling and recordkeeping. (1)
Confirmatory sampling is required
under paragraph (b) of this section. For
liquids described in paragraphs (b)(1)
and (b)(2) of this section, sample in ac-
cordance with §§761.269 and 761.272. For
non-porous surfaces and concrete de-
scribed in paragraphs (b)(3) and (b)(4) of
this section, sample in accordance with
subpart P of this part. A written record
of such sampling must be established
and maintained for 3 years from the

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date of any decontamination under this
section. The record must show sam-
pling locations and analytical results
and must be retained at the site of the
decontamination or a copy of the
record must be made available to EPA
in a timely manner, if requested. In ad-
dition, recordkeeping is required in ac-
cordance with §761.180(a) for all wastes
generated by a decontamination proc-
ess and regulated for disposal under
this subpart.

(2) Confirmatory sampling is not re-
quired for self-implementing decon-
tamination procedures under para-
graph (c) of this section. Any person
using these procedures must retain a
written record documenting compli-
ance with the procedures for 3 years
after completion of the decontamina-
tion procedures (e.g., video recordings,
photographs).

(g) Decontamination waste and resi-
dues. Decontamination waste and resi-
dues shall be disposed of at their exist-
ing PCB concentration unless other-
wise specified.

(1) Distillation bottoms or residues
and filter media are regulated for dis-
posal as PCB remediation waste.

(2) PCBs physically separated from
regulated waste during decontamina-
tion (such as by chopping, shredding,
‘scraping, abrading or oil/water separa-
tion, as opposed to solvent rinsing and
soaking), other than wastes described
in paragraph (g)(1) of this section, are
regulated for disposal at their original
concentration.

(8) Hydrocarbon solvent used or re-
used for decontamination under this
section that contains <50 ppm PCB
must be burned and marketed in ac-
cordance with the requirements for
used oil in §761.20(e), disposed of in ac-
cordance with §761.60(a) or (e), or de-
contaminated pursuant to this section.

(4) Chlorinated solvent at any PCB
concentration used for decontamina-
tion under this section shall be dis-
posed of in an incinerator operating in
compliance with §761.70, or decontami-
nated pursuant to this section.

(5) Solvents 250 ppm other than those
described in paragraphs (¢)(3) and (g)(4)
of this section shall be disposed of in
accordance with §761.60(a) or decon-
taminated pursuant to this section.

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(6) Non-liquid cleaning materials and
personal protective equipment waste at
any concentration, including non-po-
rous surfaces and other non-liquid ma-
terials such as rags, gloves, booties,
other disposable personal protective
equipment, and similar materials re-
sulting from decontamination shall be
disposed of in accordance with
§761.61(a)(5)(v).

(h) Alternative decontamination or sam-
pling approval. (1) Any person wishing
to decontaminate material described in
paragraph (a) of this section in a man-
ner other than prescribed in paragraph
(b) of this section must apply in writ-
ing to the Regional Administrator in
the Region where the activity would
take place, for decontamination activ-
ity occurring in a single EPA Region;
or to the Director, Office of Resource
Conservation and Recovery, for decon-
tamination activity occurring in more
than one EPA Region. Each application
must describe the materia] to be de-
contaminated and the proposed decon-
tamination method, and must dem-
onstrate that the proposed method is
capable of decontaminating the mate-
rial to the applicable level set out in
paragraphs (b)(1) through (b)(4) of this
section,

(2) Any person wishing to decontami-
nate material described in paragraph
(a) of this section using a self-imple-
menting procedure other than pre-
scribed in paragraph (c) of this section
must apply in writing to the Regional
Administrator in the Region where the
activity would take place, for decon-
tamination activity occurring in a sin-
gle EPA Region; or to the Director, Of-
fice of Resource Conservation and Re-
covery, for decontamination activity
occurring in more than one EPA Re-
gion. Each application must describe
the material to be decontaminated and
the proposed self-implementing decon-
tamination method and must include a
proposed validation study to confirm
performance of the method,

(3) Any person wishing to sample de-
contaminated material in a manner
other than prescribed in paragraph (f)
of this section must apply in writing to
the Regional Administrator in the Re-
gion where the activity would take
place, for decontamination activity oc-
curring in a single EPA Region; or to

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the Director, Office of Resource Con-
servation and Recovery, for decon-
tamination activity occurring in more
than one EPA Region. Each application
must contain a description of the ma-
terial to be decontaminated, the nature
and PCB concentration of the contami-
nating material (if known), the decon-
tamination method, the proposed sam-
pling procedure, and a justification for
how the proposed sampling is equiva-
lent to or more comprehensive than
the sampling procedure required under
paragraph (f) of this section.

(4) EPA may request additional infor-
mation that it believes necessary to
evaluate the application.

(5) EPA will issue a written decision
on each application for risk-based de-
contamination or sampling. No person
may conduct decontamination or sam-
pling under this paragraph prior to ob-
taining written approval from EPA.
EPA wil] approve an application if it
finds that the proposed decontamina-
tion or sampling method will not pose
an unreasonable risk of injury to
health or the environment.

(63 FR 35457, June 29, 1998, as amended at 64
FR 38761, June 24, 1999; 72 FR 57240, Oct. 9,
2007; 74 FR 30233, June 25, 2009)

Subpart E—Exemptions

§761.80 Manufacturing,
and distribu

t processing
tion in

commerce ex-
emptions.

(a) The Administrator grants the fol-
lowing petitioner(s) an exemption for 1
year to process and distribute in com-
merce PCBs for use as a mounting me-
dium in microscopy:

(1) McCrone Accessories Components,
Division of Walter C. McCrone Associ-
ates, Inc., 2820 South Michigan Avenue,
Chicago, IL. 60616.

(2) [Reserved]

(b) The Administrator grants the fol-
lowing petitioner(s) an exemption for 1
year to process and distribute in com-
merce PCBs for use as a mounting me-
dium in microscopy, an immersion oil
in low fluorescence microscopy and an
optical liquid:

(1) R.P, Cargille Laboratories, Inc., 55
Commerce Road, Cedar Grove, N.J.
07009.

(2) [Reserved]

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(c) The Administrator grants the fol-
lowing petitioner(s) an exemption for 1
year to export PCBs for use in small
quantities for research and develop-
ment:

(1) Accu-Standard, New Haven, CT.
06503.

(2) ManTech, Research Triangle
Park, NC 27709.

(d) The Administrator grants the fol-
lowing petitioner(s) an exemption for 1
year to import (manufacture) into the
United States, small quantities of ex-
isting PCB fluids from electrical equip-
ment for analysis:

(1) Unison Transformer Services,
Inc., Tarrytown, N.Y. 10591, provided
each of the following conditions are
met:

(i) The samples must be shipped in 5.0
ml or less, hermetically sealed vials.

(ii) The exemption is limited to no
more than 250 total samples per year.

(iii) Unison makes quarterly inspec-
tions of its laboratories to ensure that
proper safety procedures are being fol-
lowed.

(iv) Unison annually notifies and de-
scribes to EPA its attempts to have
samples analyzed abroad.

(2) [Reserved]

(e) The Administrator grants a class
exemption to all research and develop-
ment (R&D) facilities for a period of 1
year to manufacture or import PCBs
for use solely in the manufacturer or
importer’s own research for the devel-
opment of PCB disposal technologies.
Each person that wishes to be part of
the exemption must meet the following
conditions:

(1) A petition for an exemption from
the PCB prohibition on manufacturing
PCBs must be received by EPA 60 days
prior to engaging in these activities.

(2) Requests for renewal must be filed
pursuant to §750.11 of this chapter.
EPA will deem any properly filed re-
quest for the renewal of the exemption
by any member of the class as a re-
newal request for the entire class.

(3) The quantity of the PCBs manu-
factured annually must not exceed 500
grams by total weight of pure PCBs.
Any person who wishes to manufacture
or import more than 500 grams of PCBs
in 1 year must receive written approval
from the Director, National Program

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Chemicals Division to exceed the limi-
tations established by this provision.
The Director, National Program
Chemicals Division may grant approval
without further rulemaking. Any in-
crease granted will be in writing and
will extend only for a maximum of the
time remaining in a specific exemption
year.

(4) The owner or operator of the facil-
ity must notify the HPA Regional Ad-
ministrator in writing 30 days prior to
the commencement of R&D activities
that include the manufacture or im-
port of PCBs under the exemption, un-
less the facility has obtained a PCB
R&D approval from EPA pursuant to
§761.60(e), §761.60(1)(2), §761.70(a), or
§761.70(b) and the approval contains a
provision allowing the manufacture of
PCBs.

(5) Records are maintained of their
PCB activities for a period of 3 years
after ceasing operations. The records
must include the sources and the an-
nual amounts of PCBs received if im-
ported and the type and annual amount
of PCBs that were manufactured.

(6) All PCBs and materials con-
taining PCBs, regardless of concentra-
tion, remaining from the disposal-re-
lated studies must be disposed of ac-
cording to §761.60(j)(1)(vi), or decon-
taminated pursuant to §761.79, based on
the original PCB concentration.

(f) The Administrator grants the fol-
lowing petitioner(s) an exemption for 1
year to manufacture PCBs for use in
small quantities for research and de-
velopment:

(1) California Bionuclear Corp., Sun
Valley, CA 91352 (ME-13).

(2) Foxboro Co., North Haven, CT
06473 (ME-6).

(3) ULTRA-Scientific, Inc.,Hope, RI
02831 (ME-99.1).

(4) Midwest Research Institute, Kan-
sas City, MO 64110 (ME-70.1).

(5) Pathfinder Laboratories, St.
Louis, MO 63146 (A division of Sigma
Aldridge Corporation, St. Louis, MO,
63178 (ME-76).

(6) Radian Corp., Austin, TX 78766
(ME-81.2).

(7) Wellington Sciences USA, College
Station, TX 77840 (ME-104.1).

(8) Accu-Standard, 25 Science Park,
New Haven, CT. 06503.

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(g) The Administrator grants a class
exemption to all processors and dis-
tributors of PCBs in small quantities
for research and development provided
that the following conditions are met:

(1) All processors and distributors
must maintain records of their PCB ac-
tivities for a period of 5 years.

(2) Any person or company which ex-
pects to process or distribute in com-
merce 100 grams (.22 lb) or more PCBs
in 1 year must report to EPA identi-
fying the sites of PCB activities and
the quantity of PCBs to be processed or
distributed in commerce.

(h) The Administrator grants the fol-
lowing petitioners an exemption for 1
year to process and distribute in com-
merce PCBs for analytical reference
samples derived from actual waste ma-
terials:

(1) R.T. Corporation, Laramie, WY
82070.

(2) [Reserved]

(i) The Administrator grants a class
exemption to all persons who manufac-
ture, import, process, distribute in
commerce, or export PCBs, or analyt-
ical reference samples derived from
PCE waste material, provided the PCBs
are manufactured, imported, processed,
distributed in commerce, or exported
solely for the purpose of R&D and the
following conditions are met:

(1) Notification in the form of a peti-
tion for an exemption from the PCB
prohibitions on manufacture, import,
processing, distribution in commerce,
or export is received by EPA 60 days
prior to engaging in these activities.

(2) Requests for renewal are filed pur-
suant to §§'750.11 and 750.31 of this chap-
ter. EPA will deem any properly filed
request for the renewal of the exemp-
tion by any member of the class as a
renewal request for the entire class.

(3) The PCBs are packaged in one or
more hermetically sealed containers of
a volume of no more than 5.0 ml each.
Analytical reference samples derived
from PCB waste material may be pack-
aged in a container larger than 5.0 ml
when packaged pursuant to applicable
DOT performance standards.

(4) The quantity of PCBs manufac-
tured, imported, processed, distributed
in commerce, or exported annually
must not exceed 500 grams by total
weight of pure PCBs. Any person who

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expects to manufacture, import, proc-
ess, distribute in commerce, or export
more than 500 grams of PCBs in 1 year
or to exceed the 5.0 ml packaging re-
quirement must obtain a written ap-
proval from the Director, National Pro-
gram Chemicals Division and must
identify the sites of PCB activities and
the quantity of PCBs to be manufac-
tured, imported, processed, distributed
in commerce, or exported. Each request
must include a justification. The Di-
rector, National Program Chemicals
Division, may grant approval without
further rulemaking. Any increase
granted will be in writing and will ex-
tend only for a maximum of the time
remaining in a specific exemption year.

(5) All treated and untreated PCB
regulated material and material com-
ing into contact with regulated mate-
rial must be stored and disposed of ac-
cording to subpart D of this part, or de-
contaminated pursuant to § 761.79.

(6) All PCB materials must be dis-
tributed in DOT-authorized packaging.

(7) Records are maintained of their
PCB activities for a period of 3 years
after ceasing operations. The records
must include the sources and the an-
nual amounts of PCBs received if im-
ported, the annual amount of PCBs
that were manufactured, the annual
amount of PCBs that were processed
and/or distributed in commerce (to in-
clude export), and the persons to whom
the PCBs were shipped.

(j) The Administrator grants the
United States Defense Logistics Agen-
cy’s April 23, 2013 petition for an ex-
emption for 1 year beginning on Octo-
ber 1, 2014, to import up to 1,014,222
pounds of PCBs and PCB Items stored
or in use in Japan as identified in its
petition for disposal.

(k)-(1) [Reserved]

(m) The Administrator grants the
following petitioner(s) an exemption
for 1 year to process and export small
quantities of PCBs for research and de-

velopment:

(1) Chem Service, Inc., West Chester,
PA 19380 (PDE-41).

(2) Foxboro Co., North Haven, CT
06478 (ME-6).

(3) PolyScience Corp., Niles, IL 60648
(PDE-178).

(4) ULTRA-Scientific, Inc., Hope, RI
02831 (PDE-282.1).

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(5) Supelco, Inc., Bellefonte, PA
16823-0048 (PDE-41.2),

(6) Radian Corp., Austin, TX 178766
(PDE-182.1).

(7) Restek Corporation, Bellefonte,
PA

(n) The 1-year exemption granted to
petitioners in paragraphs (a) through
(c)Q), (d), (£), and (m)(1) through (m)(6)
of this section shall be renewed auto-
matically as long as there is no in-
crease in the amount of PCBs to be
processed and distributed, imported
(manufactured), or exported, nor any
change in the manner of processing and
distributing, importing (manufac-
turing), or exporting of PCBs. If there
is such a change, a new exemption peti-
tion must be submitted to EPA and it
will be addressed through an exemption
rulemaking. In such a case, the activi-
ties granted under the existing exemp-
tion may continue until the new peti-
tion is addressed by rulemaking, but
must conform to the terms of the exist-
ing exemption approved by EPA. The 1—
year exemption granted to petitioners
in paragraphs (¢)(2), (h) and (m)(7) of
this section may be extended pursuant
to 40 CFR 750.11(e) or 750.31(e).

(o) The 1-year class exemption grant-
ed to all processors and distributors of
PCBs in small quantities for research
and development in paragraph (zg) of
this section shall be renewed automati-
cally unless information is submitted
affecting EPA's conclusion that the
class exemption, or the activities of
any individual or company included in
the exemption, will not pose an unrea-
sonable risk of injury to health or the
environment. EPA will evaluate the in-
formation, issue a proposed rule for
public comment, and issue a final rule
affecting the class exemption or indi-
viduals or companies included in the
class exemption. Until EPA issues a
final rule, individuals and companies
included in the class exemption will be
allowed to continue processing and dis-
tributing PCBs in small quantities for
research and development.

(55 FR 38999, Sept. 24, 1990, as amended at 59
FR 16998, Apr. 11, 1994; 63 FR 35460, June 29,
1998; 68 FR 4941, Jan. 31, 2008; 72 FR 53158,
Sept. 18, 2007; 79 FR 58270, Sept. 29, 2014]

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Subpart F—Transboundary
Shipments of PCBs for Disposal

SouRoE: 61 FR 11107, Mar. 18, 1996, unless
otherwise noted.

$761.91 Applicability.

This subpart establishes require-
ments under section 6 of TSCA applica-
ble to the transboundary shipments of
PCBs and PCB Items into and out of
the United States for disposal. Nothing
in this subpart is intended to obviate
or otherwise alter obligations applica-
ble to imported or exported PCBs and
PCB Items under foreign laws, inter-
national agreements or arrangements,
other United States statutes and regu-
lations, other sections of TSCA (e.¢.,
sections 13 and 14), or laws of the var-
ious States of the United States. No
provision of this section shall be con-
strued to affect or limit the applica-
bility of any requirement applicable to
transporters of PCB waste under regu-
lations issued by the U.S. Department
of Transportation (DOT) and set forth
at 49 CFR parts 171-180.

$761.93 Import for disposal.

(a) General provisions, No person may
import PCBs or PCB Items for disposal
without an exemption issued under the
authority of TSCA section 6(e)(3).

(b) [Reserved]

(63 FR, 35460, June 29, 1998)

°§761.97 Export for disposal.

(a) General provisions. No person
may export PCBs or PCB Items for dis-
posal without an exemption, except
that:

(1) PCBs and PCB Items at con-
centrations <50 ppm (or <10 pg PCB/100
cm? if no free-flowing liquids are
present) may be exported for disposal.

(2) For the purposes of this section,
PCBs and PCB Items of unknown con-
centrations shall be treated as if they
contain 250 ppm.

(b) [Reserved]

[61 FR 11107, Mar. 18, 1996, as amended at 63
FR 36460, June 29, 1998)

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$761.99 Other transboundary  ship-
ments.

For purposes of this subpart, the fol-
lowing transboundary shipments are
not considered exports or imports:

(a) PCB waste generated in the
United States, transported outside the
Customs Territory of the United States
(including any residuals resulting from
cleanup of spills of such wastes in tran-
sit) through another country or its ter-
ritorial waters, or through inter-
national waters, and returned to the
United States for disposal.

(b) PCB waste in transit, including
any residuals resulting from cleanup of
spills during transit, through the
United States (e.g., from Mexico to
Canada, from Canada to Mexico).

(c) PCB waste transported from any
State to any other State for disposal,
regardless of whether the waste enters
or leaves the customs territory of the
United States, provided that the PCB
waste or the PCBs from which the
waste was derived were present in the
United States on January 1, 1979, and
have remained within the United
States since that date.

[63 FR 35461, June 29, 1998, as amended at 66
FR 17478, Mar. 30, 2001] ‘

Subpart G—PCE Spill Cleanup
Policy

SouRcE: 62 FR 10705, Apr. 2, 1987, unless
otherwise noted.

§761.120 Scope.

(a) General. This policy establishes
criteria EPA will use to determine the
adequacy of the cleanup of spills re-
sulting from the release of materials
containing PCBs at concentrations of
50 ppm or greater. The policy applies to
spills which occur after May 4, 1987.

(1) Existing spills (spills which oc-
curred prior to May 4, 1987, are ex-
cluded from the scope of this policy for
two reasons:

@) For old spills which have already
been discovered, this policy is not in-
tended to require additional cleanup
where a party has already cleaned a
spill in accordance with requirements
imposed by EPA through its regional
offices, nor is this policy intended to

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interfere with ongoing litigation of en-
forcement actions which bring into
issue PCB spills cleanup.

(ii) EPA recognizes that old spills
which are discovered after the effective
date of this policy will require site-by-
site evaluation because of the likeli-
hood that the site involves more perva-
sive PCB contamination than fresh
spills and because old spills are gen-
erally more difficult to clean up than
fresh spills (particularly on porous sur-
faces such as concrete), Therefore,
spills which occurred before the effec-
tive date of this policy are to be decon-
taminated to requirements established
at the discretion of EPA, usually
through its regional offices.

(2) EPA expects most PCB spills sub-
ject to the TSCA PCB regulations to
conform to the typical spill situations
considered in developing this policy.
This policy does, however, exclude
from application of the final numerical
cleanup standards certain spill situa-
tions from its scope: Spills directly
into surface waters, drinking water,
sewers, grazing lands, and vegetable
gardens. These types of spills are sub-
ject to final cleanup standards to be es-
tablished at the discretion of the re-
gional office. These spills are, however,
subject to the immediate notification
requirements and measures to mini-
mize further environmental contami-
nation.

(3) For all other spills, EPA generally
expects the decontamination standards
of this policy to apply. Occasionally,
some small percentage of spills covered
by this policy may warrant more strin-
gent cleanup requirements because of
additional routes of exposure or signifi-
cantly greater exposures than those as-
sumed in developing the final cleanup
standards of this policy. While the EPA
regional offices have the authority to
require additional cleanup in these cir-
cumstances, the Regional: Adminis-
trator must first make a finding based
on the specific facts of a spil) that ad-
ditional cleanup must occur to prevent
unreasonable risk. In addition, before a
final decision is made to require addi-
tional cleanup, the Regional Adminis-
trator must notify the Director, Office
of Resource Conservation and Recovery
of his/her finding and the basis for the
finding.

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(4) There may also be exceptional
spill situations that requires less strin-
gent cleanup or a different approach to
cleanup because of factors associated
with the particular spill. These factors
may mitigate expected exposures and
risks or make cleanup to these require-
ments impracticable.

(b) Spills that may require more strin-
gent cleanup levels. For spills within the
scope of this policy, EPA generally re-
tains, under §761.135, the authority to
require additional cleanup upon finding
that, despite good faith efforts by the
responsible party, the numerical de-
contamination levels in the policy
have not been met. In addition, EPA
foresees the possibility of exceptional
spill situations in which site-specific
risk factors may warrant additional
cleanup to more stringent numerical
decontamination levels than are re-
quired by the policy. In these situa-
tions, the Regional] Administrator has
the authority to require cleanup to lev-
els lower than those included in this
policy upon finding that further clean-
up must occur to prevent unreasonable
risk. The Regional Administrator will
consult with the Director, Office of Re-
source Conservation and Recovery,
prior to making such a finding.

(1) For example, site-specific charac-
teristics, such as short depth to ground
water, type of soil, or the presence of a
shallow well, may pose exceptionally
high potential for ground water con-
tamination by PCBs remaining after
cleanup to the standards specified in
this policy. Spills that pose such a high
degree of potential for ground water
contamination have not been excluded
from the policy under paragraph (d) of
this section because the presence of
such potential may not be readily ap-
parent. EPA feels that automatically
excluding such spills from the scope of
the policy could result in the delay of
cleanup—a particularly undesirable
outcome if potential ground water con-
tamination is, in fact, a significant
concern.

(2) In those situations, the Regional
Administrator may require cleanup in
addition to that required under
§761.125(b) and (c). However, the Re-
gional Administrator must first make
a finding, based on the specific facts of

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a spill, that additional cleanup is nec-
essary to prevent unreasonable risk. In
addition, before making a final deci-
sion on additional cleanup, the Re-
gional Administrator must notify the
Director, Office of Resource Conserva-
tion and Recovery of his finding and
the basis for the finding.

(c) Flexibility to allow less stringent or
alternative requirements. EPA retains
the flexibility to allow less stringent or
alternative decontamination measures
based upon site-specific considerations.
EPA will exercise this flexibility if the
responsible party demonstrates that
cleanup to the numerical decontamina-
tion levels is clearly unwarranted be-
cause of risk-mitigating factors, that
compliance with the procedural re-
quirements or numerical standards in
the policy is impracticable at a par-
ticular site, or that site-specific char-
acteristics make the costs of cleanup
prohibitive. The Regional Adminis-
trator will notify the Director, Office
of Resource Conservation and Recovery
of any decision and the basis for the de-
cision to allow less stringent cleanup.
The purpose of this notification is to
enable the Director, Office of Resource
Conservation and Recovery to ensure
consistency of spill cleanup standards
under special circumstances across the
regions.

(d) Excluded spills. (1) Although the
spill situations in paragraphs (d)(2) (i)
through (vi) of this section are ex-
cluded from the automatic application
of final decontamination standards
under §761.125 (b) and (c), the general
requirements under §761.125(a) do apply
to these spills. In addition, all of these
excluded situations require prac-
ticable, immediate actions to contain
the area of contamination. While these
situations may not always require
more stringent cleanup measures, the
Agency is excluding these scenarios be-
cause they will always involve signifi-
cant factors that may not be ade-
quately addressed by cleanup standards
based upon typical spill characteris-
tics.

(2) For the spill situations in para-
graphs (d)(2)(i) through (vi) of this sec-
tion, the responsible party shall decon-
taminate the spill in accordance with
site-specific requirements established
by the EPA regional offices.

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(i) Spills that result in the direct
contamination of surface waters (sur-
face waters include, but are not limited
to, “waters of the United States’’ as
defined in part 122 of this chapter,
ponds, lagoons, wetlands, and storage
reservoirs).

(ii) Spills that result in the direct
contamination of sewers or sewage
treatment systems.

(iii) Spills that result in the direct
contamination of any private or public
drinking water sources or distribution
systems.

(iv) Spills which migrate to and con-
taminate surface waters, sewers, or
drinking water supplies before cleanup
has been completed in accordance with
this policy.

(v) Spills that contaminate animal
grazing lands.

(vi) Spills that contaminate vege-
table gradens.

(8) Relationship of policy to other stat-
utes. (1) This policy does not affect
cleanup standards or requirements for
the reporting of spills imposed, or to be
imposed, under other Federal statutory
authorities, including but not limited
to, the Clean Water Act (CWA), the Re-
source Conservation and Recovery Act
(RCRA), and the Comprehensive Envi-
ronmental Response Compensation and
Liability Act of 1980 (CERCLA) as
amended by the Superfund Amend-
ments and Reauthorization Act
(SARA). Where more than one require-
ment applies, the stricter standard
must be met.

(2) The Agency recognizes that the
existence of this policy will inevitably
result in attempts to apply the stand-
ards to situations within the scope of
other statutory authorities. However,
other statutes require the Agency to
consider different or alternative fac-
tors in determining appropriate correc-
tive actions. In addition, the types and
magnitudes of exposures associated
with sites requiring corrective action
under other statutes often involve im-
portant differences from those ex-
pected of the typical, electrical equip-
ment-type spills considered in devel-
oping this policy. Thus, cleanups under
other statutes, such as RCRA correc-
tive actions or remedial and response

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